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                          Nos. 23-35440 & 23-35450

  In the United States Court of Appeals for the Ninth Circuit
__________________________________________________________________
                         UNITED STATES OF AMERICA,
                             Plaintiff-Appellee,
                                      v.
                            THE STATE OF IDAHO,
                            Defendant-Appellant.


                      UNITED STATES OF AMERICA,
                            Plaintiff-Appellee,
                                     v.
                          THE STATE OF IDAHO
                                Defendant,
                                     v.
      MIKE MOYLE, Speaker of the Idaho House of Representatives; et al.,
                         Intervenors-Appellants.


               Appeal from the United States District Court
                         for the District of Idaho
                      Honorable B. Lynn Winmill
                          (1:22-cv-00329-BLW)
_________________________________________________________________
        INTERVENORS-APPELLANTS’ OPPOSED MOTION TO
        STAY PRELIMINARY INJUNCTION PENDING APPEAL
__________________________________________________________________
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                                 INTRODUCTION

      At issue here is whether the United States can lawfully prevent the State of

Idaho from regulating abortion by contriving a mandate contrary to federal law.

Idaho Code § 18-622 (section 622) prohibits abortion unless authorized. Before it

could come into force, the United States sued Idaho, claiming that section 622 is

preempted by the Emergency Medical Treatment and Labor Act, 42 U.S.C. § 1395dd

(EMTALA). The district court issued a preliminary injunction and reaffirmed that

order when denying motions for reconsideration. This appeal followed.

      The motion seeks a stay pending appeal. Intervenors-Appellants, the Speaker

of the Idaho House of Representatives Mike Moyle, Idaho Senate President Pro

Tempore Chuck Winder, and the Sixty-Seventh Legislature (Legislature) respect-

fully move this Court for a stay of the district court’s orders dated May 4, 2023 (Dkt.

135) (May Order or Exh. 1) and August 24, 2022 (Dkt. 95) (August Order or Exh.

2), until a final disposition of the pending appeal before this Court and proceedings

before the Supreme Court of the United States.1

      The Legislature satisfies the standard for issuing a stay pending appeal.

Every day that the preliminary injunction prevents the operation of Idaho law inflicts


1
  The Legislature satisfied FRAP 8 by filing a motion for a stay with the district
court. See Mot. to Stay Pending Appeal (Dkt. 140) (Exh. 3). That motion was fully
briefed on August 4, 2023, but the district court has not acted on it. As for Circuit
Rule 27-1, opposing counsel has confirmed that the United States opposes the mo-
tion.
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irreparable harm on the State. The Legislature has a strong likelihood of success on

the merits since the preliminary injunction rests on a conflict between federal and

state law that does not exist. Congress expressly limited the preemptive reach of

EMTALA, and it cannot preempt state laws like section 622. EMTALA does not

impliedly require a hospital to perform abortions; rather, it expressly requires emer-

gency medical care for both a pregnant woman and her unborn child. Giving

EMTALA the gloss preferred by the government will violate the major questions

doctrine, as well as the Tenth Amendment and the Spending Clause. Finally, the

public interest and balance of the equities point toward a stay.

                                    ARGUMENT

      A familiar four-part standard governs when to issue a stay pending appeal:

      (1) whether the stay applicant has made a strong showing that he is likely to
      succeed on the merits; (2) whether the applicant will be irreparably injured
      absent a stay; (3) whether issuance of the stay will substantially injure the
      other parties interested in the proceeding; and (4) where the public interest
      lies.
Nken v. Holder, 556 U.S. 418, 426 (2009) (quotation omitted). Irreparable injury and

the likelihood of success “are the most critical.” Id. at 434. When those are satisfied,

a court will consider “the harm to the opposing party and weighing the public inter-

est”—factors that “merge when the Government is the opposing party.” Id. at 435.

      This Circuit uses a “sliding scale” approach, under which “a stronger showing

of one element may offset a weaker showing of another.” Alliance for the Wild Rock-


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ies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011); see also Leiva-Perez v. Holder,

640 F.3d 962, 966 (9th Cir. 2011) (per curiam) (applying the sliding scale approach

to a stay pending appeal). Analysis may begin with irreparable harm. See Leiva-

Perez, 640 F.3d at 965; Al Otro Lado v. Wolf, 952 F.3d 999, 1007 (9th Cir. 2020).

I.    THE IDAHO LEGISLATURE WILL SUFFER IRREPARABLE IN-
      JURY WITHOUT A STAY.

      The Legislature can readily show that “a stay is necessary to avoid likely ir-

reparable injury to the [Legislature] while the appeal is pending.” Wolf, 952 F.3d at

1007. The Supreme Court has held that “the inability to enforce its duly enacted

plans clearly inflicts irreparable harm on the State.” Abbott v. Perez, 138 S. Ct. 2305,

2324 n.17 (2018). That holding reflects the broader principle that a State suffers

“ongoing irreparable harm” whenever it “is enjoined by a court from effectuating

statutes enacted by representatives of its people.” Maryland v. King, 567 U.S. 1301,

1303 (2012) (Roberts, C.J., in chambers) (quoting New Motor Vehicle Bd. of Cal. v.

Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977) (Rehnquist, J., in chambers)). Other

circuits have applied that principle when considering whether an injunction inflicts

irreparable injury. See, e.g., Vote.Org v. Callanen, 39 F.4th 297, 308 (5th Cir. 2022)

(quoting King, 567 U.S. at 1303); District 4 Lodge of the Int’l Ass. Of Machinists v.

Raimondo, 18 F.4th 38, 47 (1st Cir. 2021) (same); Thompson v. DeWine, 976 F.3d

610, 619 (6th Cir. 2020) (same).



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      Last August, the district court issued a preliminary injunction blocking the

operation of section 622. See Exh. 2, at 38–39. That interference with “a duly enacted

statute” constitutes irreparable harm by itself. King, 567 U.S. at 1303. Every day that

passes with that injunction in place obstructs the State from carrying out a duly

adopted law reflecting Idaho’s historic policy of disfavoring abortion. See Planned

Parenthood Great N.W. v. State, 522 P.3d 1132, 1148 (Idaho 2023) (describing

Idaho’s “history and traditions” prohibiting abortion unless authorized by law).

      Beyond the intrinsic harm of impeding Idaho law, the preliminary injunction

prevents the exercise of Idaho’s constitutional authority to regulate abortion, which

the Supreme Court has directly recognized. See Dobbs v. Jackson Women’s Health

Org., 142 S. Ct. 2228 (2022). The preliminary injunction thwarts Idaho’s exercise

of democratic self-government as Dobbs promised states were free to do.

      A stay will not cause irreparable injury to the United States. Allowing section

622 to operate as intended does not impose “irreparable” harm since the government

“may yet pursue and vindicate its interests in the full course of this litigation.” Wash-

ington v. Trump, 847 F.3d 1151, 1168 (9th Cir. 2017) (per curiam), cert. denied sub

nom. Golden v. Washington, 138 S. Ct. 448 (2017).2




2
 Third-party harm does not count as irreparable injury to the government. See Doe
#1 v. Trump, 957 F.3d 1050, 1060 (9th Cir. 2020).
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II.   THE IDAHO LEGISLATURE HAS A STRONG LIKELHOOD OF
      SUCCESS ON THE MERITS.

      Nken requires “a strong showing” that the party requesting a stay is likely to

succeed. 556 U.S. at 434. “[S]atisfaction of this factor is the irreducible minimum

requirement to granting any equitable and extraordinary relief.” City and Cnty. of

San Francisco v. U.S. Citizenship and Immigr. Servs., 944 F.3d 773, 789 (9th Cir.

2019). But “the minimum quantum of likely success necessary to justify a stay” con-

sists of demonstrating that “serious legal questions are raised.” Leiva-Perez, 640

F.3d at 967-68 (quoting Abbassi v. INS, 143 F.3d 513, 514 (9th Cir. 1998)). That is

certainly so here.

      A.     The Preliminary Injunction Rests on an Asserted Conflict Be-
             tween Federal and Idaho Law.
      The May Order appealed from here reaffirmed the preliminary injunction is-

sued in August 2022. See Exh. 1, at 11. That injunction “restrains and enjoins the

State of Idaho, including all of its officers, employees, and agents, from enforcing

Idaho Code § 18-622(2)-(3) as applied to medical care required by [EMTALA], 42

U.S.C. § 1395dd.” Exh. 2, at 38. In the district court’s view, “the Supremacy Clause

says state law must yield to federal law when it’s impossible to comply with both,”

and section 622 “conflicts with” EMTALA. Id. at 3. Section 622 is enjoined “to the

extent that statute conflicts with EMTALA-mandated care.” Id. That injunction and

its rationale harbor multiple errors.


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      B.     EMTALA Cannot Preempt Section 622.

      The preliminary injunction rests on the district court’s ruling that “there will

always be a conflict between EMTALA and Idaho Code § 18-622” because

“EMTALA obligates the treating physician to provide stabilizing treatment,

including abortion care.” Id. at 18, 19. While acknowledging that EMTALA contains

“an express preemption provision,” the court concluded that section 622 fails both

impossibility and obstacle preemption. Id. at 19 (citing Draper v. Chiapuzio, 9 F.3d

1391, 1393 (9th Cir. 1993)). But that approach to preemption fails to account for this

Court’s instruction to “construe [EMTALA’s] preemptive effect as narrowly as

possible.” Draper, 9 F.3d at 1393. It also disregards an express preemption provision

in the Medicare Act.

      EMTALA says that “[t]he provisions of this section do not preempt any State

or local law requirement, except to the extent that the requirement directly conflicts

with a requirement of this section.” 42 U.S.C. § 1359dd(f) (emphasis added). The

baseline is non-preemption. Baker v. Adventist Health, Inc., 260 F.3d 987, 993 (9th

Cir. 2001) (referring to EMTALA’s “non-preemption provision”). EMTALA

preempts only when state law “directly conflicts.” 42 U.S.C. § 1359dd(f). Given the

adverb “directly,” an implied duty under EMTALA does not pose a direct conflict

with state law. Yet the government’s purported mandate to provide an abortion arises

by implication—from EMTALA’s general duty for a physician to “provide

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stabilizing treatment” for a patient with an emergency medical condition.” Exh. 2,

at 19. Such an implied duty cannot “directly” conflict with Idaho law.

      Further limiting EMTALA’s preemptive force is the Medicare Act. It directs

that “[n]othing in this subchapter [the Medicare Act] shall be construed to authorize

any Federal officer or employee to exercise any supervision or control over the

practice of medicine or the manner in which medical services are provided.” 42

U.S.C. § 1395. This provision governs EMTALA since it is part of the Medicare

Act. So EMTALA cannot confer federal “supervision or control over the practice of

medicine or the manner in which medical services are provided.” Id.; see also

Eberhardt v. City of Los Angeles, 62 F.3d 1253, 1258 (9th Cir. 1995) (“Congress

enacted the EMTALA not to improve the overall standard of medical care, but to

ensure that hospitals do not refuse essential emergency care because of a patient’s

inability to pay.”). The preliminary injunction thus offends section 1395 by seizing

control of “the practice of medicine” regarding abortion. 42 U.S.C. § 1395.

      Because the preliminary injunction exceeds these limits on EMTALA’s

preemptive reach, it is void and should be vacated.

      C.     EMTALA Does Not Mandate Abortion.

      Even without sharp limits on EMTALA’s preemptive authority, the prelimi-

nary injunction has no foundation. It rests on the conclusion that “EMTALA




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obligates the treating physician to provide stabilizing treatment, including abortion

care.” Exh. 2, at 19. But EMTALA’s text repudiates such an obligation.

      EMTALA says nothing about abortion. The statute can be said to require abor-

tions as emergency care, if at all, only by implication. Indeed, the statutory text

shows that Congress intended for hospitals to provide medical care to a pregnant

woman and her unborn child—not to force hospitals to perform abortions.

      EMTALA’s express duties are simple and few. A Medicare-participating hos-

pital must (1) perform “an appropriate medical screening examination” to see

whether the patient has an emergency medical condition, 42 U.S.C. § 1395dd(a);

conduct a further medical exam along with “such treatment as may be required to

stabilize the medical condition” or send the patient “to another medical facility,” id.

§ 1395dd(b)(1); transfer a patient with an emergency medical condition that has not

been stabilized only as provided and where “appropriate,” id. § 1395dd(c)(1), (2).

      These duties arise when a patient has an “emergency medical condition,” as

the statute defines it. Id. § 1395dd(e)(1). A pregnant woman suffers from an “emer-

gency medical condition” triggering the hospital’s duty of care if “the absence of

immediate medical attention” could put “the health of the woman or her unborn child

in serious jeopardy.” Id. § 1395dd(e)(1)(A) (punctuation altered). That definition

also details when “a pregnant woman who is having contractions” is suffering from

an emergency medical condition. Id. § 1395dd(e)(1)(B). This occurs if a physician

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determines that “(i) that there is inadequate time to effect a safe transfer to another

hospital before delivery, or (ii) that transfer may pose a threat to the health or safety

of the woman or the unborn child.” Id. Transferring her to another facility is forbid-

den unless there is time enough for “a safe transfer … before delivery.” Id. §

1395dd(e)(1)(B)(i) (emphasis added). Then there is a catchall prohibition on any

transfer that “may pose a threat to the health or safety of the woman or the unborn

child.” Id. § 1395dd(e)(1)(B)(ii). Even the prospect of such a threat bars a transfer.

The hospital is thus obliged to consider not only the unborn child’s life, but his or

her “health or safety.” Id.; accord 42 C.F.R. § 489.24 (same).

      Repeatedly, then, EMTALA expresses Congress’s commitment to protect

both a pregnant woman and her unborn child. At no point does the statute suggest

that the mother’s health should take priority over the child’s life. Only the United

States (and the preliminary injunction) does that.

      D.     The District Court’s Orders Misconstrue EMTALA.

      First, the decision below goes awry by discarding subsection (B) of EM-

TALA’s definition of emergency medical condition, 42 U.S.C. § 1395dd(e)(1). See

Exh. 2, at 4 n.1. Statutory provisions describing when “a pregnant woman who is

having contractions” suffers an emergency medical condition are plainly relevant to

the government’s claim that EMTALA requires abortion. 42 U.S.C. § 1395dd(e)(1).




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      Second, the preliminary injunction unaccountably removes the phrase “or her

unborn child” when describing how EMTALA and Idaho law conflict. Id. at §

1395dd(e)(1)(A)(i). The August order enjoins section 622 insofar as it interferes with

an abortion deemed “necessary to avoid (i) ‘placing the health of’ a pregnant patient

‘in serious jeopardy’; (ii) a ‘serious impairment to bodily functions’ of the pregnant

patient; or (iii) a ‘serious dysfunction of any bodily organ or part’ of the pregnant

patient, pursuant to 42 U.S.C. § 1395dd(e)(1)(A)(i)–(iii).” Exh. 2, at 38–39. Omit-

ting “or her unborn child” from the statute wrongly reduces EMTALA’s text to

“mere surplusage.” Am. Vantage Cos. v. Table Mountain Rancheria, 292 F.3d 1091,

1098 (9th Cir. 2002) (cleaned up). Excising the statute’s reference to unborn children

in a case that tests how far Idaho law can protect them is profoundly troubling.

      Third, the district court is likewise mistaken to say that EMTALA “calls for

stabilizing treatment, which of course may include abortion care.” Exh. 2, at 21.

Stabilizing treatment is required only when a patient with an emergency medical

condition cannot be transferred to another facility, consistent with statutory criteria.

See 42 U.S.C. §§ 1395dd(b)(1); 1395dd(c). Even then, the definition of stabilized

undermines the notion of requiring a hospital to perform an abortion for that purpose.

After all, EMTALA’s only approved form of stabilizing care is to ensure that “the

[pregnant] woman has delivered (including the placenta).” Id § 1395(e)(3)(B).




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      In short, Congress’s repeated command to deliver emergency medical care to

both a pregnant woman and her unborn child refutes the government’s contention

that EMTALA requires hospitals to perform abortions.

      E.     Construing EMTALA as an Abortion Mandate Violates the Major
             Questions Doctrine.

      The district court’s reading of EMTALA collides with the major questions

doctrine. Under that doctrine, courts presume that Congress will “speak clearly if it

wishes to assign to an agency decisions of vast economic and political significance.”

Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014) (citation omitted). In that

instance, “something more than a merely plausible textual basis” is necessary, West

Virginia v. EPA, 142 S. Ct. 2587, 2609 (2022): only “clear congressional

authorization” will do. Util. Air, 573 U.S. at 324. Indeed, “exceedingly clear

language” is necessary if Congress “wishes to significantly alter the balance between

federal and state power.” U.S Forest Serv. v. Cowpasture River Preserv. Assn., 140

S. Ct. 1837, 1849–50 (2020). Requiring “a clear statement,” Biden v. Nebraska, 143

S. Ct. 2355, 2375 (2023), of congressional authority to justify the consequential

exercise of executive power rests on “both separation of powers principles and a

practical understanding of legislative intent.” W. Va., 142 S. Ct. at 2609.

      This is a quintessential major questions doctrine case.

      First, the United States “claims to discover in a long-extant statute an

unheralded power” to control national abortion policy. Util. Air, 573 U.S. at 324.

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Accepting the government’s gloss on EMTALA “would bring about an enormous

and transformative expansion in [the Executive Branch’s] regulatory authority

without clear congressional authorization.” Id. By the government’s logic, all sorts

of medical mandates can be inferred from the versatile phrase “necessary stabilizing

treatment.” 42 U.S.C. § 1395dd. But the idea that Congress hid such consequential

power in a remote corner of the Medicare Act is wholly implausible.

      Second, the government’s reading of EMTALA is unprecedented. See Texas

v. Becerra, 623 F. Supp. 3d 696, 735 (N.D. Tex. 2022). That novelty is another

powerful strike against construing EMTALA as an abortion mandate.

      Third, the government’s claim that federal law requires hospitals to perform

abortions even when prohibited by state law is a matter of “vast … political signifi-

cance,” Util. Air, 573 U.S. at 324 (quotation omitted). The Supreme Court’s decision

in Roe v. Wade to constitutionalize abortion “sparked a national controversy” for the

past half-century. Dobbs, 142 S. Ct. at 2241. Controversy will inflame national pol-

itics no less if the Executive Branch is allowed to exercise “highly consequential

power [over abortion] beyond what Congress could reasonably be understood to

have granted,” W. Va., 142 S. Ct. at 2609, and to “significantly alter the balance

between federal and state power,” without “exceedingly clear language” from Con-

gress. Cowpasture River, 140 S. Ct. at 1849–50.




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      These signs of executive overreach oblige the United States to identify “more

than a merely plausible textual basis” to justify the assault on Idaho law. W. Va., 142

S. Ct. at 2609. The government must pinpoint “‘clear congressional authorization’

for the power it claims.” Id. (quoting Util. Air, 573 U.S. at 324). And that it cannot

do. The only statutory text propping up the government’s claim is broad language

requiring a hospital to deliver “such treatment as may be required to stabilize the

medical condition” of a patient with an emergency medical condition. 42 U.S.C. §

1395dd(b)(1)(A). This “wafer-thin reed” is all the United States has to support its

claim to “sweeping power” over abortion. Ala. Assoc. of Realtors v. HHS, 141 S. Ct.

2485, 2489 (2021). Without clear congressional authority, the government’s inter-

pretation should be rejected.

       Mayes v. Biden, 67 F.4th 921 (9th Cir. 2023), poses no obstacle to applying

the major questions doctrine. Even if the doctrine does not apply to actions of the

President, see id. at 933, EMTALA is unlike the Procurement Act since it does not

grant discretionary authority to the President. And unlike Mayes, political account-

ability remains a concern because the suit is brought under the direction of the

Attorney General, an appointed official—not an elected one. See 28 U.S.C. § 503.

The leeway owing to a President acting under an express grant of congressional au-

thority, see Mayes, 67 F.4th at 933, is misplaced when considering the lawfulness of

asserted executive authority without a presidential overlay.

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      F.     The District Court Mischaracterized Section 622 as a Risk to the
             Life and Health of Women in Crisis.

      The federal-state conflict at the root of the preliminary injunction appears no

better from the perspective of state law.

      In the district court’s telling, section 622 is unduly harsh. “EMTALA

obligates the treating physician to provide stabilizing treatment, including abortion

care. But regardless of the pregnant patient’s condition, Idaho statutory law makes

that treatment a crime.” Exh. 2, at 19. Pressing further, the court asks the reader to

imagine “the pregnant patient, laying on a gurney in an emergency room facing the

terrifying prospect of a pregnancy complication that may claim her life” but where

“her doctors feel hobbled by an Idaho law that does not allow them to provide the

medical care necessary to save her health and life.” Exh. 2, at 36–37. Framing section

622 in these emotional terms is highly misleading. Far from posing an arbitrary

obstacle to decent medical care, section 622 simply restores Idaho law to its pre-Roe

condition under which performing an elective “abortion was viewed as an immoral

act and treated as a crime.” Planned Parenthood, 522 P.3d at 1148.

      To start, Idaho law does not treat all medical procedures to terminate a

pregnancy as an abortion. By statute, abortion is defined as “the use of any means

to intentionally terminate the clinically diagnosable pregnancy of a woman with

knowledge that the termination by those means will, with reasonable likelihood,

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cause the death of the unborn child.” IDAHO CODE § 18-604(1). The Idaho Supreme

Court ruled that pregnancy complications like preeclampsia, as well as ectopic

pregnancy and other non-viable pregnancies are outside the scope of section 622.

See Planned Parenthood, 522 P.3d at 1202–03. A doctor faces no liability if giving

a pregnant mother needed medical treatment accidentally results in the death of an

unborn child. See IDAHO CODE §§ 18-622(4) (statutory exemption); id. § 18-604(1)

(defining abortion as using some means “to intentionally terminate” a pregnancy).

      Besides defining abortion narrowly, section 622 contains straightforward

exceptions authorizing abortion to save a woman’s life or (during the first trimester)

to terminate a pregnancy from rape or incest. IDAHO CODE §§ 18-622(2), 18-

622(2)(b). A physician does not risk prosecution because he performed an abortion

believing that a woman’s life was at risk. Statutory exceptions protect a physician

who acts “in his good faith medical judgment and based on the facts known to the

physician at the time.” Id. §§ 18-622(2)(a)(i), (ii). Given that safe harbor, section

622 should no longer “deter physicians from providing abortions in some emergency

situations.” Exh. 1, at 6; accord Exh. 2, at 26. Yet the May Order neglects to

acknowledge these important amendments.

      Hence, the federal-state conflict conceived by the district court is false at both

ends. Reading EMTALA as an abortion mandate defeats Congress’s evident intent

to secure emergency medical care for both a pregnant woman and her unborn child,

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and Idaho’s section 622 is not the draconian measure portrayed by the lower court.

Because EMTALA and section 622 do not conflict, the preliminary injunction has

no basis. It should be vacated and the decision below reversed.

      G.     Construing EMTALA as an Abortion Mandate Raises Significant
             Constitutional Objections.

             1.     The preliminary injunction violates the Tenth Amendment.

      The decision below contradicts the Tenth Amendment in two ways.

      Enjoining section 622 unlawfully deprives the State of Idaho of its sovereign

authority to regulate abortion. Dobbs holds that the Constitution reserves that power

to the states. Dobbs, 142 S. Ct. at 2279 (holding that “the authority to regulate abor-

tion must be returned to the people and their elected representatives”). The decision

below thwarts Idaho from charting its own course on abortion. Courts require “ex-

ceedingly clear language” if federal law is to “alter the balance between federal and

state power,” Cowpasture River, 140 S. Ct. at 1849-50, and EMTALA is “exceed-

ingly clear,” id.—but in the opposite direction. The district court evidently missed

the federalism implications of reading EMTALA as an abortion mandate.

             2.     The decision below violates the Spending Clause.

      The construction of EMTALA adopted by the district court transgresses the

Spending Clause. See U.S. CONST. art. I, § 8.

      First, that Clause forbids the United States from coercing an unwilling state

into complying with a regulatory command. But that is what the government does

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by threatening the State of Idaho with the loss of all Medicare funding (of which

EMTALA-related funding is a small part) unless Idaho hospitals obey the

government’s baseless reading of EMTALA. See NFIB v. Sebelius, 567 U.S. 519,

582 (2012) (holding that a provision of the ACA amounted to “economic dragooning

that leaves the States with no real option but to acquiesce in the Medicaid

expansion”). Here, the United States says that section 622 denies it “the benefit of its

bargain … by affirmatively prohibiting Idaho hospitals from complying with certain

obligations under EMTALA.” Complaint, Dkt. 1, at 13 (Exh. 4). The government

adds that section 622 “undermines the overall Medicare program and the funds that

the United States provides in connection with that program ….” Id. at 13–14. This

suggests that Idaho hospitals must perform abortions when the United States says

that EMTALA requires it or risk the loss of billions in Medicare funding. The scale

of that risk is eye-popping. Idaho received “approximately $3.4 billion in federal

Medicare funds” between 2018-2020. USA Memo ISO Motion for Prelim. Inj., Dkt.

17-1, at 6 (emphasis added) (Exh. 5). HHS Secretary Becerra made the threat crystal

clear by warning that any Medicare-funded hospitals that adheres to state law rather

than to the government’s conception of EMTALA risks “termination of its Medicare

provider agreement.” Letter from Secretary Becerra to Health Care Providers, July

11, 2022, at 2, available at https://www.hhs.gov/sites/default/files/emergency-

medical-care-letter-to-health-care-providers.pdf.

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      Second, the requirement pressed by the United States is retroactive. It comes long

after Idaho agreed to the conditions of participating in Medicare. Imposing a novel

mandate retroactively is another way that the government violates the Spending

Clause. Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 25 (1981).

      III.   GRANTING A STAY SERVES THE PUBLIC INTEREST AND
             APTLY BALANCES THE EQUITIES.

      Nken holds that the remaining factors—harm to the opposing party and the

public interest—“merge when the Government is the opposing party.” 556 U.S. at

435. These factors too weigh in favor of a stay.

      The public interest is served by confining the government within its lawful

bounds and “maintaining our constitutional structure” of powers divided among the

three branches of the national government and between the federal government and

the states. BST Holdings, LLC v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021). See also

Sierra Club v. Trump, 929 F.3d 670, 677 (9th Cir. 2019) (the public interest would

be served by “respecting the Constitution’s assignment of the power of the purse to

Congress, and by deferring to Congress’s understanding of the public interest”).

Dobbs recognizes that the State of Idaho is free to strike its own balance between

safeguarding the health and safety of its women and the lives of its unborn children.

That same interest is reflected in EMTALA’s requirement to furnish emergency

medical care for both a pregnant woman and her unborn child. See 42 U.S.C. §



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1395dd(e)(1). And it is consistent with non-preemption provisions in EMTALA, 42

U.S.C. § 1395dd(f), and the Medicare Act. 42 U.S.C. § 1395.

      The district court thought otherwise. To it, a “key consideration” is “what im-

pact an injunction would have on non-parties and the public at large.” Exh. 2, at 36

(citing Bernhardt v. L.A. Cnty., 339 F.3d 920, 931 (9th Cir. 2003)). The public at

large would be best served, the court said, by vindicating the Supremacy Clause. See

id. In addition, the court discerned that “allowing the Idaho law to go into effect

would threaten severe, irreparable harm to pregnant patients in Idaho.” Id. And hos-

pital capacity in neighboring states “would be pressured as patients may choose to

cross state lines to get the emergency care they are entitled to receive under federal

law.” Exh. 2, at 37-38. Compared to these interests, the district court said that “the

State of Idaho will not suffer any real harm if the Court issues the modest preliminary

injunction the United States is requesting.” Exh. 2, at 38. Accordingly, the court

ruled that “the public interest lies in favor of enjoining the challenged Idaho law to

the extent it conflicts with EMTALA.” Id.

      Yet section 622 expressly authorizes necessary medical care for pregnant

women in distress. See IDAHO CODE §§ 18-622(2), (4), (5). There is no reasonable

prospect that a woman suffering from preeclampsia or the side-effects of an ectopic

pregnancy will be denied medical care because of section 622. Preeclampsia is a

dangerous condition that poses a genuine threat to a woman’s life, and section 622

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expressly authorizes an abortion where a physician judges it in good faith to be nec-

essary. See id. § 18-622(2). An ectopic pregnancy can also be life-threatening and

even when not, its removal is not an abortion under Idaho law. See Planned

Parenthood, 522 P.3d at 1203. Since EMTALA does not dictate any particular form

of medical treatment—including abortion—an Idaho doctor complies with EM-

TALA by giving a pregnant woman with an emergency medical condition the same

care provided to any similarly situated patient, regardless of the patient’s ability to

pay. That may include treatments other than abortion.

      The lower court’s focus on “non-parties and the public at large,” Exh. 2, at 36,

is mistaken when the likelihood of success on the merits “is the most important”

factor in evaluating an injunction. Garcia v. Google, Inc., 786 F.3d 733, 740 (9th

Cir. 2015). Also, what matters under the “balance of equities” prong are “the burdens

or hardships to [the plaintiff] compared with the burden on [the State of Idaho and

the Legislature] if an injunction is ordered.” Poretti v. Dzurenda, 11 F.4th 1037,

1050 (9th Cir. 2021). Properly focused, the balance tips in the Legislature’s favor.

For the Legislature, the preliminary injunction interposes federal judicial power on

an issue of profound importance to Idaho. Elected state officials acted in good faith

by adopting section 622 in harmony with Supreme Court precedent. Enjoining Idaho

law is an affront to the State that only searching judicial review can justify.




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      By comparison, the United States has no legitimate interest in forcing com-

pliance with an implied mandate contrary to EMTALA’s text and context. Surely,

there is no public interest in replacing Idaho’s conception of abortion policy with the

federal government’s. Reasonable minds differ about when the law should authorize

an abortion. But Idaho’s elected officials have duly adopted laws restoring the

State’s historic commitment to protecting unborn life. See Planned Parenthood

Great N.W., 522 P.3d at 1148 (describing Idaho’s “history and traditions” respecting

the regulation of abortion). And nothing in EMTALA bars that choice.

                                    CONCLUSION

      For these reasons, the Legislature respectfully requests a stay of the district

court orders dated August 24, 2022 and May 4, 2023, pending final disposition of

the appeal before this Court and proceedings before the Supreme Court of the United

States.

                                         Respectfully submitted,

                                         /s/ Daniel W. Bower
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                                         Counsel for Intervenors-Appellants
August 22, 2023


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           CERTIFICATE OF COMPLIANCE PURSUANT TO
        CIRCUIT RULE 32-1 FOR CASE NOS. 23-35440 & 23-35450

      I hereby certify that this brief complies with the word limits permitted by

FRAP 27(d)(2)(A). The motion is 4,984 words, excluding the cover and documents

exempted by FRAP 27(a)(2)(B). The brief’s type size and typeface comply with

FRAP 32(a)(5) and (6).

      Dated: August 22, 2023          /s/ Daniel W. Bower
                                      Daniel W. Bower
                                      Counsel for Intervenors-Appellants
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                        EXHIBIT 1
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                        UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO


  THE UNITED STATES OF AMERICA,


         Plaintiff,                             Case No. 1:22-cv-00329-BLW

         v.

  THE STATE OF IDAHO,                           MEMORANDUM DECISION AND
                                                ORDER
         Defendant,


  SCOTT BEDKE, in his official capacity
  as Speaker of the House of
  Representatives of the State of Idaho;
  CHUCK WINDER, in his capacity as
  President Pro Tempore of the Idaho State
  Senate; and the SIXTY-SIXTH IDAHO
  LEGISLATURE,

         Intervenor-Defendants



                                  INTRODUCTION
      Idaho Code § 18-622 makes it a felony for anyone to perform or attempt to

perform or assist with an abortion. Idaho Code § 18-622(2). The law, which the Idaho

Supreme Court refers to as the “Total Abortion Ban,” criminalizes all abortions, without

exception – offering only the “cold comfort” of two narrow affirmative defenses.

Memorandum Decision and Order dated August 24, 2022, p. 1, Dkt. 95. As relevant here,



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an accused physician may avoid conviction when the physician determines in her good

faith medical judgment that the abortion is necessary to prevent the death of a pregnant

woman. Id. § 18- 622(3). The affirmative defense does not protect a physician who

performs an abortion “merely” to prevent serious harm to the patient, rather than to save

her life. Nor does the affirmative defense insulate the physician from criminal

prosecution under any circumstances. Instead, it shifts the burden of proof from the

prosecution to the criminal defendant to prove at trial that the abortion was necessary to

prevent the death of the mother – in a sense, presuming the defendant guilty until she

proves herself innocent.

       The Total Abortion Ban, even before it went into effect, has engendered various

legal challenges in both federal and state court. In this Court, the United States sued to

enjoin the ban to the extent it conflicted with the federal Emergency Medical Treatment

and Labor Act (“EMTALA”), which requires hospitals that accept Medicare funds to

offer stabilizing treatment—including, in some cases, treatment that would be considered

an abortion—to patients who present at emergency departments with emergency medical

conditions. Because the Total Abortion Ban criminalizes medical care that federal law

requires hospitals to offer, this Court enjoined Idaho Code § 18-622 to the extent it

conflicts with EMTALA. See Memorandum Decision and Order, dated August 24, 2022

(“August 24, 2022 Injunction”). Rather than appealing this decision the State of Idaho

and the Idaho Legislature have filed motions for reconsideration, which are now pending

before the Court. (Dkt. 97 & 101).



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       Parallel to this litigation, a challenge to the constitutionality of the ban under the

Idaho Constitution proceeded separately before the Idaho Supreme Court. Planned

Parenthood Great Nw., Haw., Alaska, Ind., Ky. v. State (“Planned Parenthood”), Idaho

Supreme Court Docket No. 49817-2022 (Idaho June 27, 2022) (Petition for Writ of

Prohibition). On January 5, 2023, while the motions for reconsideration remained

pending, the Idaho Supreme Court issued its decision in Planned Parenthood, upholding

the constitutionality of the Total Abortion Ban under the Idaho Constitution. Planned

Parenthood Great Nw. v. State, 522 P.3d 1132 (2023). The Idaho Supreme Court also

construed the scope of Idaho’s Total Abortion Ban in rendering its decision.

       After the Idaho Supreme Court issued its decision in Planned Parenthood, both

the State and the Legislature requested to file supplemental briefing in support of their

motions for reconsideration. This Court granted their request. Now, in addition to their

arguments raised in their initial round of briefing, both the State and the Legislature argue

that the Planned Parenthood decision eliminated any conflict between EMTALA and the

Total Abortion Ban, obviating any need for the preliminary injunction entered in this

case. See Dkts. 126, 127. As explained below, the Court will deny the motions for

reconsideration.

                                        ANALYSIS
       1. Motion to Reconsider Standard
       “Reconsideration is an extraordinary remedy, to be used sparingly in the interests

of finality and conservation of judicial resources.” Adidas Am., Inc. v. Payless

Shoesource, Inc., 540 F. Supp. 2d 1176, 1179 (D. Or. 2008) (quoting Kona Enterprises,


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Inc. v. Estate of Bishop, 229 F.3d 877, 890 (9th Cir. 2000)) (internal quotation marks

omitted); see also Carroll v. Nakatani, 342 F.3d 934, 945 (9th Cir. 2003). A motion to

reconsider should therefore be granted only if the moving party can show an intervening

change in controlling law, new evidence has become available, or the district court

committed clear error, or the initial decision was manifestly unjust. See Cachil Dehe

Band of Wintun Indians of Colusa Indian Community v. California, 649 F.Supp.2d 1063,

1069-70 (E.D. Cal. 2009) (citing Sch. Dist. No. 1J Multnomah County, Or. v. ACandS,

Inc., 5 F.3d 1255, 1263 (9th Cir. 1993)).

       “Motions for reconsideration are generally disfavored, and, in the absence of new

evidence or change in the law, a party may not use a motion to reconsider to present new

arguments or evidence that could have been raised earlier.” Adidas, 540 F. Supp. 2d at

1180 (citing Fuller v. M.G. Jewelry, 950 F.2d 1437, 1442 (9th Cir. 1991)). “Motions to

reconsider are also not vehicles permitting the unsuccessful party to ‘rehash’ arguments

previously presented.” Cachil Dehe Band, 649 F. Supp. 2d at 1069–70 (quoting United

States v. Navarro, 972 F.Supp. 1296, 1299 (E.D.Cal.1997), rev'd on other grounds, 160

F.3d 1254 (9th Cir. 1998) (internal quotation marks omitted)). “Ultimately, a party

seeking reconsideration must show more than a disagreement with the Court’s decision,

and recapitulation of the cases and arguments considered by the court before rendering its

original decision fails to carry the moving party’s burden.” Id. (quoting United States v.

Westlands Water Dist., 134 F. Supp. 2d 1111, 1131 (E.D.Cal. 2001). (internal quotation

marks omitted)).



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       2. The Legislature and State Fail to Meet the Demanding Standard for
          Reconsideration in their Initial Briefing.
       The Legislature and the State’s motions fail to meet the demanding standard the

Ninth Circuit has set for succeeding on reconsideration. In their original round of briefing

on their motions to reconsider, the Legislature and the State do not identify an

intervening change in controlling law or newly discovered evidence. Instead, they argue

that this Court “committed clear error or made a decision that was manifestly unjust”

when it granted the United States’ motion for preliminary injunction. But then the

Legislature and the State simply proceed in rehashing arguments previously presented or

in making additional arguments that they could have raised earlier.

       To the extent the Legislature and the State merely express their disagreement with

the Court’s decision and recapitulate the cases and arguments considered by the Court

before rendering its initial decision, they have failed to carry their heavy burden on

reconsideration. The Court will therefore deny their motions to reconsider on any of the

grounds raised in their initial round of briefing. To the extent, however, the Idaho

Supreme Court decision in Planned Parenthood Great Nw. v. State, 522 P.3d 1132

(2023), somewhat altered the legal landscape since the Court issued its preliminary

injunction, it merits some discussion.

       3. The Planned Parenthood Decision Did Not Negate the Fundamental
          Principles Underpinning the Court’s Preliminary Injunction.
       In their supplemental briefing, the Legislature and the State suggests the Idaho

Supreme Court’s decision in Planned Parenthood amounts to an intervening change of

controlling law, warranting reconsideration of the Court’s preliminary injunction order.


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They argue the Idaho Supreme Court “defined the scope of Idaho Code § 18-622 in at

least two ways that conflict with this Court’s interpretation of that law,” upending this

Court’s analysis finding a conflict between the Total Abortion Ban and EMTALA. See

Id’s Supp. Br., Dkt. 127. The Court disagrees.

       In its preliminary injunction decision, the Court concluded that the Total Abortion

Ban conflicts with EMTALA under principles of both impossibility and obstacle

preemption. August 24, 2022 Injunction, pp. 19-34, Dkt. 95. First, the Court determined

that, by virtue of the Total Abortion Ban’s affirmative defense structure, “it is impossible

to comply with both laws” because “federal law requires the provision of care and state

law criminalizes that very care.” Id. at 19. Second, this Court found that “the plain

language of the statutes demonstrates that EMTALA requires abortions that the

affirmative defense would not cover.” Id. at 20. And third, this Court concluded that

“Idaho’s criminal abortion law will undoubtedly deter physicians from providing

abortions in some emergency situations,” which “would obviously frustrate Congress’s

intent to ensure adequate emergency care for all patients who turn up in Medicare-funded

hospitals.” Id. at 26.

       In the Planned Parenthood decision, the Idaho Supreme Court confirmed that: (1)

Idaho Code § 18-622 criminalizes all abortions, 522 P.3d at 1152 (“Unlike Idaho’s

historical abortion laws, which provided an exception to ‘save’ or ‘preserve’ the life of

the woman, the Total Abortion Ban makes all ‘abortions’ a crime.”); (2) the affirmative

defense covers a narrower set of circumstances than those in which EMTALA requires a



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hospital to offer stabilizing treatment, id. at 1196 (noting Idaho Code § 18-622 “does not

include the broader ‘medical emergency’ exception for abortions” contained in Idaho

Code § 18-8804(1)); and (3) a provider’s invocation of the affirmative defense may still

be challenged at trial, after the provider has been charged, arrested, and potentially

detained, and thus will continue to deter the provision of medically necessary abortions,

id. (noting “a physician who performed an “abortion’ …could be charged, arrested, and

confined until trial even if the physician initially claims they did it to preserve the life of

the mother….[and] “[o]nly later, at trial, would the physician be able to raise the

affirmative defenses available in the Total Abortion Ban”).

       In other words, the Idaho Supreme Court’s decision in Planned Parenthood

confirms each of the fundamental principles that underpinned this Court’s decision

enjoining Idaho Code § 18-622 to the extent it conflicts with EMTALA; it therefore does

not provide a basis for this Court to reconsider its decision. By contrast, the aspects of the

Idaho Supreme Court’s decision on which the State and Legislature focus—i.e., that the

affirmative defense is subjective rather than objective, and that the Total Abortion Ban

does not apply to ectopic or other nonviable pregnancies—do not fundamentally alter this

Court’s preemption analysis.

       The Idaho Supreme Court held that the necessary-to-prevent-death affirmative

defense “does not require objective certainty” nor “a particular level of immediacy”

before the abortion can be “necessary” to prevent a pregnant woman’s death. Planned

Parenthood, 522 P.3d at 1203. Thus, according to the State, because the affirmative



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defense is “subjective” rather than objective, “there is no conflict” between the Total

Abortion Ban and EMTALA because the ban “does not require a ‘medically impossible’

determination that a pregnant woman is certain to die without an abortion,” and neither

does it promote delays or worsened patient outcomes by encouraging physicians to wait

to provide care until a pregnant woman is nearer to death. Id. Supp. Br., pp. 1-2, Dkt. 127.

       First, this argument ignores – as the Idaho Supreme Court decision makes clear –

that “the Total Abortion Ban makes all ‘abortions’ a crime,” and “a physician who

perform[s] an ‘abortion’… [can] be charged, arrested, and confined until trial even if the

physician initially claims they did it to preserve the life of the mother.” Planned

Parenthood, 522 P.3d at 78 (emphasis in original). “Only later, at trial, would the

physician be able to raise the affirmative defenses available under the Total Abortion

Ban…to argue it was a justifiable abortion that warrants acquittal and release.” Id. This

is true regardless of whether the affirmative defense is “subjective” or “objective.” It also

remains true that EMTALA requires physicians to offer medical care that state law

criminalizes. Thus, the Idaho Supreme Court’s decision, as consistent with this Court’s

holding, confirmed – rather than eliminated – the conflict between EMTALA and the

Total Abortion Ban: Because “federal law requires the provision of care and state law

criminalizes that very care, it is impossible to comply with both laws” and the state law is

preempted. August 24, 2022 Injunction, p. 19, Dkt. 95.

       Second, this argument ignores a second key rationale undergirding this Court’s

preliminary injunction decision: the affirmative defense applies to a narrower scope of



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conduct than EMTALA covers. August 24, 2022 Injunction, p. 20, Dkt. 95. A physician

may only assert the affirmative defense at trial when “the abortion was necessary to

prevent the death of the pregnant woman.” I.C. § 18-622(3)(a)(ii). But EMTALA requires

providing stabilizing care not just when the patient faces death, but also when a patient

faces serious health risks that may stop short of death, including permanent and

irreversible health risks and impairment of bodily functions. 42 U.S.C. §

1395dd(e)(1)(A). As the Court explained in its decision, the pregnant patient may face

grave risks to her health, “such as severe sepsis requiring limb amputation, uncontrollable

uterine hemorrhage requiring hysterectomy, kidney failure requiring lifelong dialysis, or

hypoxic brain injury” – but if the pregnant patient does not face death, the ban’s

affirmative defense offers no protection to a physician who performs an abortion. August

24, 2022 Injunction, pp. 2-3, 20, Dkt. 95. The Idaho Supreme Court confirmed as much

when it noted that the Total Abortion Ban “does not include the broader ‘medical

emergency’ exception for abortions present in [another Idaho abortion statute].” Planned

Parenthood, 522 P.3d at 1196. The lack of such an exception, or even affirmative

defense, is yet another reason that a conflict exists between EMTALA and § 18-622.

August 24, 2022 Injunction, p. 20, Dkt. 95. Again, the subjective nature of the affirmative

defense does not change this result, given that the Planned Parenthood decision did not

expand the scope of the defense to include health-threatening conditions.

       Likewise, the Idaho Supreme Court’s narrowing the scope of the Total Abortion

Ban to exclude ectopic and other “non-viable pregnancies” did not eliminate the conflict



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between Idaho law and EMTALA. In Planned Parenthood, contrary to this Court’s

interpretation, the Idaho Supreme Court applied a “limiting judicial construction,

consistent with apparent legislative intent” to conclude that § 18-622 does not

“contemplate ectopic pregnancies” or other “non-viable pregnancies.” Id. at 1202-1203.

Both the State and the Legislature argue that this limiting construction eliminates any

conflict between EMTALA and the Total Abortion Ban by pointing to the United States’

examples involving ectopic pregnancies. Leg.’s Supp. Br., p. 2, Dkt. 126, Id. Supp. Br.,

pp. 7-8, Dkt. 127. But this Court’s decision finding a conflict between § 18-622 and

EMTALA did not rest on its conclusion that the ban encompasses ectopic pregnancies.

       In its decision enjoining the Total Abortion Ban, this Court pointed to “many other

complications,” in addition to ectopic pregnancy, that “may place the patient’s health in

serious jeopardy or threaten bodily functions.” August 24, 2022 Injunction, p. 8, Dkt. 95.

As noted by the Court in its decision, “[s]ome examples include the following scenarios”:

          • A patient arrives at an emergency room with nausea and shortness of
            breath, leading to a diagnosis of preeclampsia. Preeclampsia can
            quickly progress to eclampsia, with the onset of seizures.
          • A woman arrives at an emergency room with an infection after the
            amniotic sac surrounding the fetus has ruptured. That condition can
            progress into sepsis, at which point the patient’s organs may fail.
          • A patient arrives at the hospital with chest pain or shortness of
            breath, which leads the physician to discover elevated blood pressure
            or a blood clot.
          • A patient arrives at the emergency room with vaginal bleeding
            caused by a placental abruption. Placental abruption is when the
            placenta partly or completely separates from the inner wall of the
            uterus. It can lead to catastrophic or uncontrollable bleeding. If the
            bleeding is uncontrollable, the patient may go into shock, which



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               could result in organ disfunction such as kidney failure, and even
               cardiac arrest

Id. at 8-9 (citing Fleisher Dec. ¶¶ 15-22, Dkt. 17-3). In each of these scenarios, the

stabilizing care EMTALA requires a physician to offer may include terminating a-still

developing pregnancy covered under the Idaho Supreme Court’s more limited definition

of “abortion.” Thus, the exclusion of ectopic and other nonviable pregnancies from the

Total Abortion Ban does not negate the continuing need to enjoin the ban to the extent it

still clearly conflicts with EMTALA.

       In short, the Court finds no reason to reconsider its decision granting the United

States’ motion for a preliminary injunction, and the injunction stands. To contest the

preliminary injunction, the State and the Legislature may appeal and seek remedy with

the Ninth Circuit. Whittaker Corp. v. Execuair Corp., 953 F.2d 510, 515 (9th Cir. 1992)

(“So I’m going to deny your motion and let’s let the law lords of the Ninth Circuit reach a

judgment.”).

                                          ORDER
       IT IS ORDERED that:

          1. The Idaho Legislature’s Motion for Reconsideration of Order Granting

               Preliminary Injunction (Dkt. 97) is DENIED.

          2. The State of Idaho’s Motion to Reconsider Preliminary Injunction (Dkt.

               101) is DENIED.




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                                           DATED: May 4, 2023


                                           _________________________
                                           B. Lynn Winmill
                                           U.S. District Court Judge




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                      UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                              Case No. 1:22-cv-00329-BLW
        Plaintiff,
                                              MEMORANDUM DECISION AND
         v.                                   ORDER

  THE STATE OF IDAHO,

        Defendant.



                                INTRODUCTION

      Pregnant women in Idaho routinely arrive at emergency rooms experiencing

severe complications. The patient might be spiking a fever, experiencing uterine

cramping and chills, contractions, shortness of breath, or significant vaginal

bleeding. The ER physician may diagnose her with, among other possibilities,

traumatic placental abruption, preeclampsia, or a preterm premature rupture of the

membranes. In those situations, the physician may be called upon to make

complex, difficult decisions in a fast-moving, chaotic environment. She may

conclude that the only way to prevent serious harm to the patient or save her life is

to terminate the pregnancy—a devastating result for the doctor and the patient.

      So the job is difficult enough as it is. But once Idaho Code § 18-622 goes

into effect, the physician may well find herself facing the impossible task of

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attempting to simultaneously comply with both federal and state law. A decades-

old federal law known as the Emergency Medical Treatment and Labor Act

(EMTALA) requires that ER physicians at hospitals receiving Medicare funds

offer stabilizing treatment to patients who arrive with emergency medical

conditions. But when the stabilizing treatment is an abortion, offering that care is a

crime under Idaho Code § 18-622—which bans all abortions. If the physician

provides the abortion, she faces indictment, arrest, pretrial detention, loss of her

medical license, a trial on felony charges, and at least two years in prison. Yet if

the physician does not perform the abortion, the pregnant patient faces grave risks

to her health—such as severe sepsis requiring limb amputation, uncontrollable

uterine hemorrhage requiring hysterectomy, kidney failure requiring lifelong

dialysis, hypoxic brain injury, or even death. And this woman, if she lives,

potentially may have to live the remainder of her life with significant disabilities

and chronic medical conditions as a result of her pregnancy complication. All

because Idaho law prohibited the physician from performing the abortion.

      Granted, the Idaho statute offers the physician the cold comfort of a narrow

affirmative defense to avoid conviction. But only if she convinces a jury that, in

her good faith medical judgment, performing the abortion was “necessary to

prevent the death of the pregnant woman” can she possibly avoid conviction. Even

then, there is no certainty a jury will acquit. And the physician cannot enjoy the


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benefit of this affirmative defense if she performed the abortion merely to prevent

serious harm to the patient, rather than to save her life.

      Back to the pregnant patient in the emergency department. The doctor

believes her EMTALA obligations require her to offer that abortion right now. But

she also knows that all abortions are banned in Idaho. She thus finds herself on the

horns of a dilemma. Which law should she violate?

      Fortunately, the drafters of our Constitution had the wisdom to provide a

clear answer in Article VI, Paragraph 2 of the Constitution—the Supremacy

Clause. At its core, the Supremacy Clause says state law must yield to federal law

when it’s impossible to comply with both. And that’s all this case is about. It’s not

about the bygone constitutional right to an abortion. This Court is not grappling

with that larger, more profound question. Rather, the Court is called upon to

address a far more modest issue—whether Idaho’s criminal abortion statute

conflicts with a small but important corner of federal legislation. It does.

      As such, the United States has shown it will likely succeed on the merits.

Given that—and for the reasons discussed in more detail below—the Court has

determined it should preserve the status quo while the parties litigate this matter.

The Court will therefore grant the United States’ motion. During the pendency of

this lawsuit, the State of Idaho will be enjoined from enforcing Idaho Code § 18-

622 to the extent that statute conflicts with EMTALA-mandated care.


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                                     BACKGROUND

A.     The Emergency Medical Treatment and Labor Act

       Congress enacted EMTALA in 1986 with the overarching purpose of

ensuring that all patients receive adequate emergency medical care—regardless of

the patient’s ability to pay and regardless of whether the patient qualifies for

Medicare. See Arrington v. Wong, 237 F.3d 1066, 1073-74 (9th Cir. 2001) (citation

omitted). Under that Act, when a patient arrives at an emergency department and

requests treatment, the hospital must provide an appropriate screening examination

“to determine whether or not an emergency condition” exists. 42 U.S.C.

§ 1395dd(a). An “emergency medical condition” is defined to include:

       (A) a medical condition manifesting itself by acute symptoms of
           sufficient severity (including severe pain) such that the absence
           of immediate medical attention could reasonably be expected to
           result in—

                (i)     placing the health of the individual (or, with respect to a
                        pregnant woman, the health of the woman or her unborn
                        child) in serious jeopardy,

                (ii)    serious impairment to bodily functions, or

                (iii)   serious dysfunction of any bodily organ or part; . . .

42 U.S.C. § 1395dd(e)(1).1 If a hospital determines that a patient has an




       1
        Sub-part (B) defines an emergency medical condition as it relates to “a pregnant woman
having contractions,” but that subsection is not relevant to the issues before the Court.

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emergency medical condition, it must examine the patient and provide stabilizing

treatment at the hospital, although a transfer is permitted under certain

circumstances. 42 U.S.C. § 1395dd(b)(1). Under EMTALA, stabilizing an

emergency medical condition generally means providing medical treatment

“necessary to assure, within reasonable medical probability, that no material

deterioration of the condition is likely to result from or occur during” a discharge

or transfer to another facility. 42 U.S.C. § 1395dd(e).

       EMTALA applies to every hospital that has an emergency department and

participates in Medicare. See 42 U.S.C. § 1395cc(a)(1)(I). And a participating

hospital that fails to comply with EMTALA’s screening requirement, stabilizing

treatment, or transfer provisions may be subject to civil monetary penalties up to

$119,942 per violation. 42 U.S.C. § 1395dd(d)(1)-(2); 42 C.F.R. §1003.500

(2017). Likewise, treating physicians who violate EMTALA face civil monetary

penalties of up to $119,942 per violation and exclusion from Medicare and state

health care programs. 42 U.S.C. § 1395dd(d)(1); 42 C.F.R. §1003.500.

B.     Idaho’s Criminal Abortion Law2

       Idaho Code § 18-622 is set to take effect on August 25, 2022. It provides



       2
         Idaho has enacted a series of statutes criminalizing abortion. The statute at issue here—
and referred to at times as the “criminal abortion law” or the “Total Abortion Ban”—is codified
(Continued)

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that “[e]very person who performs or attempts to perform an abortion . . . commits

the crime of criminal abortion.” Idaho Code § 18-622(2). Abortion is defined as

“the use of any means to intentionally terminate the clinically diagnosable

pregnancy of a woman with knowledge that the termination by those means will,

with reasonable likelihood, cause the death of the unborn child.” § 18-604(1).

Pregnancy, in turn, is defined as “the reproductive condition of having a

developing fetus in the body and commences at fertilization.” § 18-604(11).

        Criminal abortion is a felony punishable by at least two, and up to five,

years’ imprisonment. § 18-622(2). In addition, “any health care professional who

performs or attempts to perform or who assists in performing or attempting to

perform an abortion” faces professional licensure suspension for a minimum of six

months upon a first offense and permanent revocation for subsequent offenses. Id.

        The statute provides two affirmative defenses. As relevant here, an accused

physician may avoid conviction by proving, by a preponderance of the evidence,

that:

        (1) The physician determined, in his good faith medical judgment
            and based on the facts known to the physician at the time, that
            the abortion was necessary to prevent the death of the pregnant
            woman; and


at Idaho Code § 18-622. Not at issue is the later-enacted Fetal Heartbeat Preborn Child
Protection Act, codified at Idaho Code § 18-8801 to 18-8808. According to Idaho Code § 18-
8805, if Idaho Code § 18-622 becomes enforceable, the penalties specified in the Heartbeat Act
will be superseded by §18-622. See Idaho Code § 18-8805(4).

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      (2) The physician performed or attempted to perform the abortion in
          the manner that, in his good faith medical judgment and based
          on the facts known to the physician at the time, provided the best
          opportunity for the unborn child to survive, unless, in his good
          faith medical judgment, termination of the pregnancy in that
          manner would have posed a greater risk of the death of the
          pregnant woman.

Idaho Code § 18-622(3)(a)(ii) and (iii).

C.    Facts

      Idaho has roughly 22,000 births per year. Not surprisingly then, some

patients will experience serious, pregnancy-related complications that qualify as an

“emergency medical condition” under EMTALA. See generally Fleisher Dec.

¶ 12, Dkt. 17-3; Corrigan Dec. ¶¶ 9-30, Dkt. 17-6; Cooper Dec. ¶¶ 6-12, Dkt. 17-

7; Seyb Dec. ¶¶ 4-13, Dkt. 17-8.

      One relatively straightforward example is a patient who presents at an

emergency department with an ectopic pregnancy. Id. ¶ 13. Accounting for about

2% of all reported pregnancies, ectopic pregnancies occur when an embryo or fetus

grows outside of the uterus, most frequently in a fallopian tube. Ex. B. to Fleisher

Dec., Dkt. 17-4, at 91. It is undisputed that an ectopic pregnancy in a fallopian tube

is an emergency medical condition that places the patient’s life in jeopardy. Left

untreated it will cause the fallopian tube to rupture and, in the majority of cases,

cause significant and potentially fatal internal bleeding. See, e.g., White Dec. ¶ 3,

Dkt. 66-1. Likewise, the parties do not dispute that the appropriate treatment for an
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ectopic pregnancy is either “emergency surgery and removal of the involved

fallopian tube, including the embryo or fetus, or administration of a drug to cause

embryonic or fetal demise.” Fleisher Dec. ¶ 13, Dkt. 17-3. Still, though, during

oral argument, the State conceded that the procedure necessary to terminate an

ectopic pregnancy is a criminal act, given the broad definitions used in Idaho’s

criminal abortion statute.

      In addition to ectopic pregnancies, there are many other complications that

may arise during pregnancy—all of which may place the patient’s health in serious

jeopardy or threaten bodily functions. Despite the risks such conditions present, it

is not always possible for a physician to know whether treatment for any particular

condition, at any particular moment in time, is “necessary to prevent the death” of

the pregnant patient, which is the prerequisite to their relying on the affirmative

defense offered by the criminal abortion statute. See Fleisher Dec. ¶¶ 13-21, Dkt.

17-3. Some examples include the following scenarios:

          • A patient arrives at an emergency room with nausea and
            shortness of breath, leading to a diagnosis of preeclampsia.
            Preeclampsia can quickly progress to eclampsia, with the onset
            of seizures.

          • A woman arrives at an emergency room with an infection after
            the amniotic sac surrounding the fetus has ruptured. That
            condition can progress into sepsis, at which point the patient’s
            organs may fail.

          • A patient arrives at the hospital with chest pain or shortness of
            breath, which leads the physician to discover elevated blood
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               pressure or a blood clot.

            • A patient arrives at the emergency room with vaginal bleeding
              caused by a placental abruption. Placental abruption is when the
              placenta partly or completely separates from the inner wall of
              the uterus. It can lead to catastrophic or uncontrollable
              bleeding. If the bleeding is uncontrollable, the patient may go
              into shock, which could result in organ disfunction such as
              kidney failure, and even cardiac arrest.

   Id. ¶¶ 15-22.

       Idaho physicians have submitted declarations describing specific patients

who have presented with these types of complications and have required

abortions. 3 Each of these conditions unquestionably qualifies as an “emergency

medical condition” under EMTALA. Accordingly, if future patients with similar

conditions presented at Medicare-funded hospitals, they would be entitled to the

emergency care required by EMTALA—which will often include an emergency

abortion.

       The impact of Idaho’s criminal abortion statute on the emergency care




       3
         See Corrigan Dec. ¶¶ 9-30, Dkt. 17-6 (describing three patients who required abortions
after experiencing, respectively, (1) severe infection due to premature rupture of the membranes;
(2) placental abruption which other medications and blood products failed to mitigate; and (3)
preeclampsia with pleural effusions and high blood pressure); Cooper Dec. ¶¶ 6-11, Dkt. 17-7
(describing three patients who required abortions after experiencing, respectively, (1)
preeclampsia with severe features, (2) HELLP syndrome, and (3) lab abnormalities consistent
with a diagnosis of HELLP syndrome); Seyb Dec. ¶¶ 7-13, Dkt. 17-8 (describing three patients
who required abortions after experiencing, respectively, (1) a septic abortion, (2) preeclampsia
with severe features, and (3) heavy vaginal bleeding).

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dictated by EMTALA is substantial. The United States has submitted declarations

from four physicians practicing in Idaho who say that if Idaho Code § 18-622 goes

into effect, they believe “there will be serious and negative consequences for

patients and healthcare workers alike.” Corrigan Supp. Dec. ¶ 13, Dkt. 86-3. Dr.

Emily Corrigan, a board-certified Obstetrician-Gynecologist practicing at a Boise

hospital, explains why this is so. First, she speaks specifically as to three recent

patients—all of whom presented with emergency medical conditions and required

an abortion. She says that for each of these patients, it was “medically impossible

to say that death was the guaranteed outcome.” Id. ¶ 8. Regarding Jane Doe 1, for

example, she says that this patient “could have developed severe sepsis potentially

resulting in catastrophic injuries such as septic emboli necessitating limb

amputations or uncontrollable uterine hemorrhage ultimately requiring

hysterectomy but [she] could still be alive.” Id. Jane Does 2 and 3 were in similar

situations—they could have survived, but each “potentially would have had to live

the remainder of their lives with significant disabilities and chronic medical

conditions as a result of their pregnancy complication.” Id..

      More broadly, Dr. Corrigan says that “while the State’s physician

declarations speak in terms of absolutes,” in her view, “medicine does not work

that way in most cases. Death may be a possible or even probable outcome, but

different outcomes or conditions may also be probable. That is why doctors


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frequently refuse to answer the question, ‘What are my chances?’” Id. ¶ 9.

      Dr. Corrigan also points out that if Idaho Code § 18-622 goes into effect,

patient care will be delayed. Id. ¶ 11. She says that, under Idaho’s law, physicians

must “wait until death is near-certain and in the meantime, the patient will

experience pain and complications that may have lifelong disabling

consequences.” Id. Ultimately then, from her perspective, “[a] physician

administering an emergency abortion in Idaho would be risking their professional

license, livelihood, personal security, and freedom.” Id.

      Compliance with the EMTALA standards is significant to this state’s health

care system. In Idaho, there are thirty-nine hospitals that receive Medicare funding

and provide emergency services. Wright Dec. ¶ 8, Dkt. 17-9. Between 2018 and

2020, these hospitals’ emergency departments received approximately $74 million

in federal Medicare funding, which was conditioned on compliance with

EMTALA. Shadle Dec. ¶ 6, Dkt. 17-10.

                              LEGAL STANDARD

      The United States asks for a preliminary injunction to enjoin Idaho from

enforcing its criminal abortion law to the extent it conflicts with EMTALA-

mandated care. “A preliminary injunction is ‘an extraordinary and drastic remedy,

one that should not be granted unless the movant, by a clear showing, carries the

burden of persuasion.” Fraihat v. United States Immigration & Customs Enf’t, 16


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F.4th 613, 635 (9th Cir. 2021) (citation omitted).

      To obtain relief, the United States must establish that: (1) it is likely to

succeed on the merits; (2) it is likely to suffer irreparable harm in the absence of

preliminary relief; (3) the balance of equities tips in its favor; and (4) an injunction

is in the public interest. Winter v. NRDC, 555 U.S. 7, 24 (2008). As to the last two

factors, “[w]here the government is a party to a case in which a preliminary

injunction is sought, the balance of the equities and public interest factors merge.”

Padilla v. Immigration & Customs Enf’t, 953 F.3d 1134, 1141 (9th Cir. 2020).

      “A district court has considerable discretion in granting injunctive relief and

in tailoring its injunctive relief.” United States v. AMC Entm't, Inc., 549 F.3d 760,

768 (9th Cir. 2008). Generally, a court must ensure that the relief is “tailored to

eliminate only the specific harm alleged” and not “overbroad.” E.&J. Gallo Winery

v. Gallo Cattle Co., 967 F.2d 1280, 1297 (9th Cir. 1992). “[I]njunctive relief

should be no more burdensome to the defendant than necessary to provide

complete relief to the plaintiffs.” Califano v. Yamasaki, 442 U.S. 682, 702 (1979).

And in the context of enjoining a state statute subjected to an as-applied challenge,

the Supreme Court has said, “Generally speaking, when confronting a

constitutional flaw in a statute, we try to limit the solution to the problem. We . . .

enjoin only the unconstitutional applications of a statute while leaving other

applications in force.” Ayotte v. Planned Parenthood of N. New England, 546 U.S.


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320, 328-29 (2006).

                                     ANALYSIS
      The key substantive question this Court must address is whether Idaho Code

§ 18-622 conflicts with certain requirements of the federal Emergency Medical

Treatment and Labor Act (EMTALA), 42 U.S.C. § 1395dd. But before turning to

that question, the Court will resolve three threshold issues: (1) whether the United

States has a cause of action; (2) whether the United States has standing; and (3)

whether the United States has mounted a facial or an as-applied attack to the

challenged statute.

A.    Cause of Action

      The United States has the unquestioned authority to sue. It has asked this

Court, sitting in equity, to partially enjoin the enforcement of Idaho Code § 18-622

because of its direct conflict with a federal statute. Such a Supremacy Clause claim

fits squarely within causes of action the Supreme Court has recognized. As the

Supreme Court explained in Shaw v. Delta Air Lines, 463 U.S. 85 (1983), “[a]

plaintiff who seeks injunctive relief from state regulation, on the ground that such

regulation is pre-empted by a federal statute which, by virtue of the Supremacy

Clause of the Constitution, must prevail, thus presents a federal question.” Id. at 96

n.14; see also Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 326 (2015)

(“[W]e have long recognized, if an individual claims federal law immunizes him


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from state regulation, the court may issue an injunction upon finding the state

regulatory actions preempted.”). Here, the United States has a cause of action

because it seeks to halt Idaho’s allegedly unconstitutional encroachment on

EMTALA; it is not seeking to enforce federal law against would-be violators. This

case is therefore distinct from the line of cases where plaintiffs challenge state

administrative action taken under a particular statute, as opposed to challenging the

validity of the state statute itself. See, e.g., Armstrong, 575 U.S. at 324.

      In a somewhat related argument, the State, in its briefing, attempted to

   raise[] serious concerns that EMTALA’s required stabilizing treatment, as

   interpreted by the United States and expressed in this litigation, is invalid as

   coercive spending clause legislation.” State Br., Dkt. 66, at 19 n.10 (citing Nat’l

   Fed. of Indep. Bus. v. Sebelius, 567 U.S. 519, 575-87 (2012)). To the extent this

   “concern” is an argument, it is not sufficiently developed here. Cf. Indep.

   Towers of Wash. v. Washington, 350 F.3d 925, 930 (9th Cir. 2003) (“We

   require contentions to be accompanied by reasons.”). The State cannot

   challenge the constitutionality of a 35-year-old federal statute in a passing

   footnote. More importantly, deciding that question would “run contrary to the

   fundamental principle of judicial restraint that courts should neither ‘anticipate

   a question of constitutional law in advance of the necessity of deciding it’ nor

   ‘formulate a rule of constitutional law broader than is required by the precise


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     facts to which it is to be applied.’” Wash. State Grange v. Wash. State

     Republican Party, 552 U.S. 442, 450 (2008) (quoting Ashwander v. TVA, 297

     U.S. 288, 346-47 (1936) (Brandeis, J., concurring)).

B.      Standing

        To establish standing, the United States must demonstrate that it has suffered

an injury in fact that is fairly traceable to Idaho’s actions and that will likely be

redressed by a favorable decision from the Court. Lujan v. Defenders of Wildlife,

504 U.S. 555, 560-61 (1992).

        Here, United States alleges at least three types of harm. First, the United

States’ sovereign interests are harmed when its laws are violated. See Vt. Agency of

Nat. Res. v. United States ex rel Stevens, 529 U.S. 765, 771 (2000); United States

v. Arizona, 641 F.3d 339, 366 (9th Cir. 2011), rev’d in part on other grounds, 567

U.S. 387 (2012). Second, if Idaho Code § 18-622 goes fully into effect, pregnant

patients throughout Idaho will be denied EMTALA-mandated care. As a general

principle, the United States may sue to redress widespread injuries to the general

welfare. In re Debs, 158 U.S. 564, 584 (1895). Third, the United States has alleged

that Idaho’s law deprives it of the benefits of its bargain in that it has provided

Medicare funding to hospitals within Idaho, and that funding was conditioned on

those hospitals’ compliance with EMTALA.

        From there, the standing analysis is simple. The harms the United States


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alleges are traceable to Idaho’s actions in enacting and, soon, enforcing Idaho

Code § 18-622. And the remedies sought here would redress the injury. The United

States thus has established standing.

C.    Facial versus As-Applied

      “As a general matter, a facial challenge is a challenge to an entire legislative

enactment or provision,” Hoye v. City of Oakland, 653 F.3d 835, 857 (9th Cir.

2011), and a successful facial challenge “invalidates the law itself.” Italian Colors

Restaurant v. Becerra, 878 F.3d 1165, 1175 (9th Cir. 2018). An as-applied

challenge, on the other hand, “challenges only one of the rules in a statute, a subset

of the statute’s applications, or the application of the statute to a specific

circumstance.” Hoye, 653 F.3d at 857. Thus, “a successful as-applied challenge

invalidates only the particular application of the law.” Italian Colors, 878 F.3d at

1175 (internal quotation and citation omitted).

      Ultimately, though, “[t]he label is not what matters.” Doe v. Reed, 561 U.S.

186, 194 (2010) (acknowledging that plaintiffs’ claim had characteristics of both

an as-applied and facial challenge). Rather, the “important” inquiry is whether the

“claim and the relief that would follow . . . reach beyond the particular

circumstances of the[ ] plaintiffs.” Id. In other words, the distinction between the

two types of challenges mainly goes to the breadth of the remedy.

      Here, a quick skim of the United States’ complaint reveals an as-applied


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challenge. In its prayer for relief, the United States asks the Court to issue a

declaratory judgment stating that “Idaho Code § 18-622 violates the Supremacy

Clause and is preempted and therefore invalid to the extent that it conflicts with

EMTALA.” Compl. ¶ 16, Dkt. 1 (emphasis added). The complaint repeats that

limiting language in the prayer for injunctive relief. Id. And in moving for a

preliminary junction, the United States once again—and repeatedly—clarified that

it is seeking a limited form or relief. See, e.g., Mtn., Dkt. 17-1, at 8.

      The State acknowledges this limiting language but nevertheless argues that

the United States is bringing a facial challenge, based on the United States’

argument that there is a conflict in all instances in which both EMTALA and Idaho

Code § 18-622 apply. The State says this isn’t so because, at times, the two statutes

can operate harmoniously.

      The Court does not find the State’s argument persuasive because it has failed

to properly account for the staggeringly broad scope of its law, which has been

accurately characterized by this Court and the Idaho Supreme Court as a “Total

Abortion Ban.” See Planned Parenthood Great Nw. v. Idaho, --- P.3d ---, 2022 WL

3335696, at *1 (Idaho Aug. 12, 2022). As will be discussed more fully below,

Idaho Code § 18-622 doesn’t just criminalize EMTALA-mandated abortions; it

criminalizes all abortions. So, in that sense, the United States has mounted a

textbook, as-applied challenge focusing only on a particular application of the


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statute in a particular context. After all, Idaho Code § 18-622 will take effect on

August 25, 2022, regardless. The United States is not trying to stop that. The only

question this Court is addressing is whether the statute must include a carve-out for

EMTALA-mandated care. The United States has mounted an as-applied challenge.

      Moreover, even if the Court were to construe the challenge as a facial one—

focusing only on the subset of abortions EMTALA requires—the United States is

still likely to succeed on the merits of its claim. As explained below, even within

that subset there will always be a conflict between EMTALA and Idaho Code

§ 18-622.

D.    Likelihood of Success on the Merits

      With these threshold questions resolved, the Court turns to whether the

United States is entitled to a preliminary injunction. The first question—whether

the United States is likely to succeed on the merits—is the most important.

California v. Azar, 950 F.3d 1067, 1083 (9th Cir. 2020). To resolve that question,

the Court is guided by the Supremacy Clause and basic preemption principles.

             1. The Supremacy Clause & Preemption
      The Supremacy Clause provides that federal law “shall be the supreme Law

of the Land.” U.S. Const. art. VI, cl. 2. “Congress may consequently pre-empt, i.e.,

invalidate, a state law through federal legislation.” Oneok, Inc. v. Learjet, Inc., 575

U.S. 373, 376 (2015).


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      In EMTALA, Congress indicated its intent to displace state law through an

express preemption provision, which says EMTALA preempts state law only “to

the extent that the [state law] requirement directly conflicts with a requirement of

this section.” 42 U.S.C. § 1395dd(f). The Ninth Circuit has construed EMTALA’s

“directly conflicts” language as referring to two types of preemption—

impossibility preemption and obstacle preemption. Draper v. Chiapuzio, 9 F.3d

1391, 1393 (9th Cir. 1993). Impossibility preemption occurs, straightforwardly,

“where it is impossible for a private party to comply with both state and federal

law.” Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363, 372 (2000). And

obstacle preemption exists where state law “stands as an obstacle to the

accomplishment and execution of the full purposes and objectives of Congress.”

Id. at 373.

              2. Impossibility Preemption

      Here, it is impossible to comply with both statutes. As already discussed,

when pregnant women come to a Medicare-funded hospital with an emergency

medical condition, EMTALA obligates the treating physician to provide stabilizing

treatment, including abortion care. But regardless of the pregnant patient’s

condition, Idaho statutory law makes that treatment a crime. Idaho Code

§ 18-622(2). And where federal law requires the provision of care and state law

criminalizes that very care, it is impossible to comply with both laws. Full stop.


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      The statute’s affirmative defense does not cure the impossibility. An

affirmative defense is an excuse, not an exception. The difference is not academic.

The affirmative defense admits that the physician committed a crime but asserts

that the crime was justified and is therefore legally blameless. And it can only be

raised after the physician has already faced indictment, arrest, pretrial detention,

and trial for every abortion they perform. See generally United States v. Sisson,

399 U.S. 267, 288 (1970) (indictments need not anticipate affirmative defenses).

So even though accused healthcare workers might avoid a conviction, the statute

still makes it impossible to provide an abortion without also committing a crime.

      Moreover, even taking the affirmative defense into account, the plain

language of the statutes demonstrates that EMTALA requires abortions that the

affirmative defense would not cover. When an abortion is the necessary stabilizing

treatment, EMTALA directs physicians to provide that care if they reasonably

expect the patient’s condition will result in serious impairment to bodily functions,

serious dysfunction of any bodily organ or part, or serious jeopardy to the patient’s

health. 42 U.S.C. § 1395dd(3)(1). In contrast, the criminal abortion statute admits

to no such exception. It only justifies abortions that the treating physician

determines are necessary to prevent the patient’s death. Idaho Code § 18-622(a)(ii)

(emphasis added). According to the dictionary, the word “necessary” means

something is “needed” or “essential.” See Necessary, Black’s Law Dictionary


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(11th ed. 2019). And the Idaho Supreme Court has said that “[w]hen engaging in

statutory interpretation,” it “begins with the dictionary definitions of disputed

words or phrases contained in the statute.” Idaho v. Clark, 484 P.3d 187, 192

(Idaho 2021). Thus, an abortion is only justified under the statute if the treating

physician can persuade the jury that she made a good faith determination that the

patient would have died if the abortion had not been performed.

      EMTALA is thus broader than the affirmative defense on two levels. First, it

demands abortion care to prevent injuries that are more wide-ranging than death.

Second, and more significantly, it calls for stabilizing treatment, which of course

may include abortion care—when harm is probable, when the patient could

“reasonably be expected” to suffer injury. In contrast, to qualify for the affirmative

defense, the patient’s death must be imminent or certain absent an abortion. It is

not enough, as the Legislature has argued, for a condition to be life-threatening,

which suggests only the possibility of death. See Life-Threatening, Black’s Law

Dictionary (11th ed. 2019) (“illness, injury, or danger that could cause a person to

die”) (emphasis added).

      Finally, as the Court discusses further below, when the defense is put up

against the realities of medical judgments, its scope is tremendously ambiguous.

Although this makes it difficult to determine whether some abortions would

qualify for both the affirmative defense and be mandated by EMTALA, that


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question is ultimately immaterial to the Court’s determination that it is impossible

for physicians to comply with both statutes.

      Seeking to skirt the conflict between federal and state law, the Legislature

advances three main points. First, the Legislature submits declarations from two

physicians who offer up opinions as to what Idaho Code § 18-622 means. They say

that terminating a pregnancy to save the life of the pregnant woman is never

considered an abortion under Idaho law. French Dec. ¶¶ 14, 17, Dkt. 71-5;

Reynolds Dec. ¶ 12, Dkt. 71-1. But as already discussed, on its face, the Idaho law

criminalizes all procedures intended to terminate a pregnancy, even if necessary to

save the patient’s life or to preserve her health. See Idaho Code § 18-604(1). And it

should go without saying that Idaho law controls the inquiry on this point—not the

medical community. Indeed, if anything, this argument crystallizes the conflict

between Idaho law and EMTALA: Idaho law criminalizes as an “abortion” what

physicians in emergency medicine have long understood as both life- and health-

preserving care.

      The Legislature’s primary example of ectopic pregnancies as falling outside

the statutory prohibition further reveals the fallacy of their argument: Idaho law

expressly defines “pregnancy” as “having a developing fetus in the body” and

commencing at fertilization. Idaho Code § 18-604(11). This plain language, which

refers to “the body,” rather than the uterus, and “fertilization” rather than


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implantation, evinces the Legislature’s intent to include ectopic pregnancies within

the statutory definition of “pregnancy.” See Worley Highway Dist. v. Kootenai

Cnty., 576 P.2d 206, 209 (Idaho 1978). As such, termination of an ectopic

pregnancy falls within the definition of an “abortion.” The Legislature cannot

avoid the effect of its chosen statutory language by relying on the medical

community’s definition of what is (and what is not) an abortion.

      The Legislature next says that terminations of ectopic pregnancies—or any

other, similar lifesaving procedures—do not fall within the scope of the statute

because such terminations are “covered” by the exemption of Idaho Code § 18-

622(4). See French Dec. ¶ 15, Dkt. 71-5. This sub-section exempts from the

statute’s prohibitions medical treatment provided to pregnant women that results in

the “accidental death” or “unintentional injury” to the fetus. Idaho Code § 18-

622(4). But certain pregnancy-related conditions, such as ectopic pregnancy,

require pregnancy termination to preserve a patient’s health or save her life—and

the “death” or “injury” to the “unborn child” in that situation will be neither

accidental nor unintentional. See Cooper Dec. ¶ 3, Dkt. 17-6; Fleisher Dec. ¶ 13,

Dkt. 17-3; Seyb Dec. ¶ 6, Dkt. 17-8. It is therefore nonsensical to classify it as

such, simply because the pregnancy was terminated to save the life or health of the

mother.

      Second, during oral argument, the Legislature acknowledged the


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“conceptual textual conflicts” between § 18-622 and EMTALA but entreated the

Court to ignore the Idaho statute’s text and focus instead on “what happens in the

real world.” Even if the Court accepted this invitation to ignore what the law says,

the Legislature’s speculations about how the law will work in practice are belied

by the actual, “real-life” experience of medical professionals in Idaho who

regularly treat women in these situations. They conclude that emergency care

normally provided to pregnant patients will be made criminal by the plain language

of § 18-622, which will, in turn, hinder their ability to provide that care if the law

goes into effect. See Corrigan Dec. ¶¶ 31-35, Dkt. 17-6; Cooper Dec. ¶ 12, Dkt.

17-7; Seyb Dec. ¶ 13, Dkt. 17-8. As one Idaho physician testified, OB/GYN

physicians in Idaho have been “bracing for the impact of this law, as if it is a large

meteor headed towards Idaho.” Supp. Cooper Dec. ¶ 13, Dkt. 86-3. More

fundamentally, if the law does not mean what it says, why have it at all?

      In short, given the extraordinarily broad scope of Idaho Code § 18-622,

neither the State nor the Legislature have convinced the Court that it is possible for

healthcare workers to simultaneously comply with their obligations under

EMTALA and Idaho statutory law. The state law must therefore yield to federal

law to the extent of that conflict.

             3. Obstacle Preemption

      Moreover, even if it were theoretically possible to simultaneously comply


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with both laws, Idaho law “stands as an obstacle to the accomplishment and

execution of the full purposes and objectives of Congress.” Crosby, 530 U.S. at

373. To be sure, the Supreme Court has cautioned that “a high threshold must be

met if a state law is to be pre-empted for conflicting with the purposes of a federal

Act.” Chamber of Commerce of the United States v. Whiting, 563 U.S. 582, 607

(2011) (citation and quotation omitted). Nevertheless, that threshold is met when it

is plain that “Congress made ‘a considered judgment’ or ‘a deliberate choice’ to

preclude state regulation” because “a federal enactment clearly struck a particular

balance of interests that would be disturbed or impeded by state regulation.” In re

Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prods. Liab. Litig., 959

F.3d 1201, 1212 (9th Cir. 2020) (quoting Arizona, 567 U.S. at 405).

      “The first step in the obstacle preemption analysis is to establish what

precisely were the purposes and objectives of Congress in enacting” the statute at

issue. Chamber of Commerce v. Bonta, 13 F.4th 766, 778 (9th Cir. 2021). For

nearly four decades, EMTALA has served as the bedrock for the emergency-care

safety net. Congress enacted EMTALA primarily because it was “concerned that

medically unstable patients are not being treated appropriately” including in

“situations where treatment was simply not provided.” H.R. Rep. No. 99-241, Pt. I,

at 27 (1985). Congress’s clear purpose was to establish a bare minimum of

emergency care that would be available to all people in Medicare-funded hospitals.


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See Arrington v. Wong, 237 F.3d 1066, 1073-74 (9th Cir. 2001).

      Congress chose to use “federal sanctions” to ensure that emergency

screening and treatment was available for “all individuals for whom care is

sought.” H.R. Rep. No. 99-241, Pt. III, at 4-5 (1985). But Congress was mindful

that overly severe sanctions might lead “some hospitals, particularly those located

in rural or poor areas, [to] decide to close their emergency rooms entirely rather

than risk the . . . penalties that might ensue.” Id. at 6. Notably, Congress took care

to avoid sanctions that would “result in a decrease in available emergency care,

rather than an increase in such care, which appears to have been the major goal of

[EMTALA].” Id.

      Here, Idaho’s criminal abortion statute, as currently drafted, stands as a clear

obstacle to what Congress was attempting to accomplish with EMTALA. As

discussed below, Idaho’s criminal abortion law will undoubtedly deter physicians

from providing abortions in some emergency situations. That, in turn, would

obviously frustrate Congress’s intent to ensure adequate emergency care for all

patients who turn up in Medicare-funded hospitals.

                    a. Idaho Code § 18-622 Deters Abortions
      It goes without saying that all criminal laws have some deterrent effect. But

the structure of Idaho’s criminal abortion law—specifically that it provides for an

affirmative defense rather than an exception—compounds the deterrent effect and


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increases the obstacle it poses to achieving the goals of EMTALA.

      For one, the process of enduring criminal prosecution and licensing authority

sanctions has a deterrent effect, regardless of the outcome. As Dr. Corrigan aptly

explained, “[h]aving to defend against such a case would be incredibly

burdensome, stressful, costly.” Corrigan Dec. ¶ 10, Dkt. 17-6. By criminalizing all

abortions, Idaho guarantees that physicians will have to accept this hardship every

time they perform an abortion. The result is reluctance to perform abortions in any

circumstances.

      The uncertain scope of the affirmative defense intensifies that result.

Providers who might be willing to depend on the affirmative defense do not have

the clarity to do so because of the statute’s ambiguous language and the complex

realities of medical judgments.

      Consider what a defendant-physician needs to prove to avail herself of the

affirmative defense. The core of the affirmative defense at issue requires the

defendant-physician to show she determined “the abortion was necessary to

prevent the death of the pregnant woman.” Idaho Code § 18-622(2). In that sense,

the defense is objective—either the defendant-physician made the determination,

or she did not. Yet the nature of that determination—how imminent a patient’s

death must before an abortion is necessary—is inscrutable.

      Applying the standard to another medical context shows its ambiguity. Say a


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sovereign adopted a law that allowed oncologists to provide cancer treatment “only

when necessary to prevent death.” Under that standard, oncologists would likely

feel comfortable providing care to a patient with a stage four terminal cancer

diagnosis. But what about a patient with stage one cancer? On the one hand,

treatment may be lawful because the patient has a condition that, left untreated,

will eventually, almost certainly cause death. On the other hand, the patient is not

in danger of dying soon, so perhaps the oncologist needs to withhold treatment

until the cancer progresses to the point where treatment is more obviously

necessary to prevent death.

      Idaho physicians treating pregnant women face this precise dilemma. As Dr.

Cooper puts it, “For those patients who are clearly suffering from a severe

pregnancy related illness and for which there is a clear indicated treatment, but

death is not imminent, it is unclear whether I should provide the appropriate

treatment because the circumstances may not justify the affirmative defense.” See

Cooper Supp. Dec. ¶ 2, Dkt. 86-5. In other words, when, precisely, does the

“necessary-to-prevent-death” language apply? Healthcare providers can seldom

know the imminency of death because medicine rarely works in absolutes.

Corrigan Supp. Dec. ¶ 9, Dkt. 86-3. Instead, physicians treat patients whose

medical risks “exist along a continuum” without bright lines to specify “when

exactly a condition becomes ‘life-threatening’ or ‘necessary to prevent the death’


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of the pregnant patient.” Fleisher Supp. Dec. ¶ 7, Dkt. 86-2; see also Seyb Dec.

¶ 13, Dkt. 17-8 (explaining that “‘prevent the death of the pregnant woman’”

standard is not useful because “this is not a dichotomous variable”). Faced with

these limitations, physicians provide care by making “educated guess[es] . . . .

[b]ut we can only rarely predict with certainty a particular outcome.” Corrigan

Supp. Dec. ¶ 9, Dkt. 86-3. Because medical needs present on a spectrum, in a given

moment of decision, “[d]eath may be a possible or even probable outcome, but

different outcomes may also be possible or probable.” Id.

      But the affirmative defense is only available to physicians once they make

that often “medically impossible” determination that “death [i]s the guaranteed

outcome.” Corrigan Supp. Dec. ¶ 8; see also ACEP et al Amicus Br., Dkt. 62 at 6

(describing the affirmative defense as “a legislatively imagined but medically

nonexistent line”); Fleisher Dec. ¶ 12, Dkt. 17-3 (“[I]n some cases where the

patient’s health is unambiguously threatened, it may be less clear whether there is

also a certainty of death without stabilizing treatment—and a physician may not

ever be able to confirm whether death would result absent immediate treatment.”).

      In short, against the backdrop of these uncertain, medically complex

situations, the affirmative defense is an empty promise—it does not provide any

clarity. The upshot of this uncertainty is that even those providers willing to risk

prosecution if they were confident in the availability of the affirmative defense will


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be deterred from providing emergency abortion care under EMTALA, where the

availability of the defense is so uncertain.

       And the Legislature cannot step in and say there is no obstacle to providing

EMTALA-mandated care—that these Idaho healthcare workers may comfortably

forge ahead and provided emergency abortions—based on its assertion that Idaho

prosecutors would not enforce the law as written. 4 The Legislature supports this

argument with a single declaration from a single county prosecutor, who said he

“would not prosecute any health care professional based on facts like those set

forth in [the United States’] declarations, and that he “believe[s] no Idaho

prosecuting attorney would do so.” Loebs Dec. ¶ 7, Dkt. 71-6. But Idaho

prosecutors have a statutory duty “to prosecute all felony criminal actions.” Idaho

Code § 31-2604(2) (emphasis added). And this one prosecutor lacks the authority

to bind the other forty-three elected county prosecutors, let alone grand juries or

citizens who might independently seek to initiate criminal proceedings, or any of

the disciplinary boards that might pursue license revocation proceedings. Cf. Idaho



       4
          The Legislature also submitted a declaration from a Nevada doctor who opines that the
standard laid out in Idaho Code § 18-622 “provides a clear and workable standard” and that
“physicians may proceed without the kinds of subjective ‘fears’ and ‘chillings’ suggested in the
declarations of the three Idaho doctors.’” Reynolds Dec. ¶¶ 9-10, Dkt. 71-1. The Court does not
find this assertion persuasive. At best, it’s a difference of opinion—some doctors will be chilled;
some won’t. On balance, and based on the factual record before it, the Court finds that if Idaho
Code §18-622 goes into effect, physicians practicing in Idaho are likely to be deterred from
providing EMTALA-mandated care, including emergency abortions.

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Code § 19-1108 (grand juries); Idaho v. Murphy, 584 P.2d 1236, 1241 (Idaho

1978) (citizen complaints); § 18-622(2).

      One prosecutor’s promise to refrain from enforcing the law as written,

therefore, offers little solace to physicians attempting to navigate their way around

both EMTALA and Idaho’s criminal abortion laws—and whose “professional

license, livelihood, personal security, and freedom” are on the line. Corrigan Supp.

Dec. ¶ 11, Dkt. 86-3 (“Our malpractice insurance may not cover us for performing

an act that some may view as a crime.”). Indeed, the Ninth Circuit has expressly

rejected the argument that courts may uphold a law merely because the enacting

authority promises to enforce it only to the extent it is consistent with federal law.

United States v. City of Arcata, 629 F.3d 986, 992 (9th Cir. 2010) (holding

officials’ “promise of self-restraint does not affect our consideration of the

ordinances’ validity” under preemption doctrine). Physicians performing health- or

life-saving abortions should not be left to “the mercy of noblesse oblige.” Powell’s

Books, Inc. v. Kroger, 622 F.3d 1202, 1215 (9th Cir. 2010) (citation omitted) (“We

may not uphold the statutes merely because the state promises to treat them as

properly limited.”).

                   b. Deterring Abortions is an Obstacle to EMTALA
      The clear and intended effect of Idaho’s criminal abortion law is to curb

abortion as a form of medical care. This extends to emergency situations,


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obstructing EMTALA’s purpose. Idaho’s choice to impose severe and sweeping

sanctions that decrease the overall availability of emergency abortion care flies in

the face of Congress’s deliberate decision to do the opposite.

      The primary obstacle is delayed care. Under the status quo, physicians “rely

upon their medical judgement or best practices for handling pregnancy

complications.” Seyb Dec. ¶ 13, Dkt. 17-8. But because of the criminal abortion

statute, “providers will likely delay care for fear of criminal prosecution and loss of

licensure.” Id.; see also Cooper Supp. Dec. ¶ 7, Dkt. 86-5 (“provider fear and

unease is real and widespread”). The incentive to do so is obvious—delaying care

so that the patient gets nearer to death and thus closer to the blurry line of the

affirmative defense. Providers may also delay care to allow extra time to consult

with legal experts. See, e.g., Corrigan Dec. ¶¶ 25, Dkt. 17-6.

      Delayed care is worse care. “The goal in medicine is to effectively identify

problems and treat them promptly so patients are stabilized before they develop a

life-threatening emergency. The Idaho law requires doctors to do the opposite—to

wait until abortion is necessary to prevent the patient’s death. See Huntsberger

Dec. ¶ 12, Dkt. 86-4. Rather than providing the stabilizing treatment that

EMTALA calls for, Idaho subjects women in medical crisis to periods of “serious

physical and emotional trauma” as they wait to get nearer and nearer to death.

Corrigan Supp. Dec. ¶ 13, Dkt. 86-3.


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       The wait for care is troubling enough on its own. Even worse, delayed care

worsens patient outcomes. As a result of delay, “[p]atients may experience serious

complications, have negative impacts on future fertility, require additional hospital

resources including blood products, and some patients may die.” Huntsberger Dec.

¶ 15, Dkt. 86-4. A recent study of maternal morbidity in Texas confirms this.

When a pregnant woman with specific pregnancy complications was treated with

“the standard protocol of terminating the pregnancy to preserve the pregnant

patient’s life or health,” the rate of serious maternal morbidity was 33 percent.

California et al Amicus Br., Dkt. 59 at 21. 5 That rate reached 57 percent, nearly

doubling, when providers used “an expectant-management approach,” meaning the

physician provided “observation-only care until serious infection develops or the

fetus no longer has cardiac activity.” Id.

       These delays in providing care frustrate EMTALA in two ways. First, delays

frustrate Congress’s intent to eliminate situations where treatment was simply not

provided by providing for basic emergency treatment. Second, the worsened

patient outcomes offend EMTALA’s core purpose of ensuring that the most

vulnerable people were not left to suffer catastrophic outcomes because of




       5
         Citing Anjali Nambiar et al., Maternal Morbidity and Fetal Outcomes Among Pregnant
Women at 22 Weeks’ Gestation or Less with Complications in 2 Texas Hospitals After
Legislation on Abortion, Am. J. Obstetrics & Gynecology (forthcoming 2022) (internet).

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indifference from physicians—or, in this case, obstacles created by the State.

      Another effect of Idaho’s criminal abortion law is that it will likely make it

more difficult to recruit OB/GYNs, who are on the front lines of providing

abortion care in emergency situations. Because Idaho does not have in-state

training for the specialty, all OB/GYNs must be recruited to come here. Seyb Dec.

¶ 14, Dkt. 17-8. But if these newly trained physicians “can practice in a state

without these conflicts and risks, it is only natural that they would be deterred from

practicing here.” Id. By extension, OB/GYNs who are already practicing here may

choose to leave or to change the nature of their practice. See, e.g., Corrigan Dec.

¶ 32, Dkt. 17-6. In both cases, the end result is fewer providers performing health

and life-saving abortions. This, again, is an obstacle to EMTALA because it

disrupts Congress’s careful balance to avoid overly severe sanctions that could lead

to providers deciding not to provide emergency care.

      In sum, cutting back on emergency abortion care quantitatively and

qualitatively is a plain obstacle to EMTALA, which Congress enacted to ensure

that all individuals—including pregnant women—have access to a minimum level

of emergency care.

E. Likelihood of Irreparable Harm

      Having concluded that that the United State is likely to succeed on the merits

of its claims, the Court turns to whether the United States has shown it is likely to


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suffer irreparable harm in the absence of an injunction.

      The United States has met that burden, as Supremacy Clause violations

trigger a presumption of irreparable harm when the United States is a plaintiff. See

generally United States v. Arizona, 641 F.3d 339, 366 (9th Cir. 2011), rev’d in part

on other grounds, 567 U.S. 387 (2012) (“[A]n alleged constitutional infringement

will often alone constitute irreparable harm.”) (citation omitted). As one court has

explained, “The United States suffers injury when its valid laws in a domain of

federal authority are undermined by impermissible state regulations.” United States

v. Alabama, 691 F.3d 1269, 1301 (11th Cir. 2012).

      And so it is here. If Idaho’s criminal abortion statute is allowed to go fully

into effect, federal law will be significantly frustrated—as discussed in detail

above. Most significantly, allowing the criminal abortion ban to take effect,

without a cutout for EMTALA-required care, would inject tremendous uncertainty

into precisely what care is required (and permitted) for pregnant patients who

present in Medicare-funded emergency rooms with emergency medical conditions.

See generally United States v. South Carolina, 840 F. Supp. 2d 898, 925 (D.S.C.

2011) (finding irreparable harm where state immigration law “could create a

chaotic situation in immigration enforcement”). The net result—discussed further

in the next section—is that these patients could suffer irreparable injury in the

absence of an injunction.


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F.    The Balance of Equities and the Public Interest

      The next question is whether the balance of equities tips in the United

States’ favor and whether an injunction is in the public interest. As noted above,

because the United States is a party, these two factors merge. The key

consideration here is what impact an injunction would have on non-parties and the

public at large. Bernhardt v. L.A. Cnty., 339 F.3d 920, 931 (9th Cir. 2003).

      Looking first to the public at large, in the most general sense, “preventing a

violation of the Supremacy Clause serves the public interest.” United States v.

California, 921 F.3d 865, 893-94 (9th Cir. 2019) (citing Arizona, 641 F.3d at 366).

As the Ninth Circuit has explained, “it is clear that it would not be equitable or in

the public’s interest to allow the state to violate the requirements of federal law,

especially when there are no adequate remedies available. In such circumstances,

the interest of preserving the Supremacy Clause is paramount.” Arizona, 641 F.3d

at 366 (cleaned up, citations omitted).

      Next, based on the various declarations submitted by the parties, the Court

finds that allowing the Idaho law to go into effect would threaten severe,

irreparable harm to pregnant patients in Idaho. Speaking of patients, although the

parties and the Court have often focused mainly on the actions and competing

interests of doctors, prosecutors, legislators, and governors, we should not forget

the one person with the greatest stake in the outcome of this case—the pregnant


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patient, laying on a gurney in an emergency room facing the terrifying prospect of

a pregnancy complication that may claim her life. One cannot imagine the anxiety

and fear she will experience if her doctors feel hobbled by an Idaho law that does

not allow them to provide the medical care necessary to preserve her health and

life. From that vantage point, the public interest clearly favors the issuance of a

preliminary injunction.

      In that regard—and as discussed at some length above—the United States

has submitted declarations from physicians explaining that there are any number of

pregnancy-related complications that require emergency care mandated by

EMTALA but that are forbidden by Idaho’s criminal abortion law. Idaho

physicians have treated such complications in the past, and it is inevitable that they

will be called upon to do so in the future. Not only would Idaho Code § 18-622

prevent emergency care mandated by EMTALA, it would also discourage

healthcare professionals from providing any abortions—even those that might

ultimately be deemed to have been necessary to save the patient’s life—given the

affirmative-defense structure already discussed. Finally, if the abortion ban laid out

in the Idaho statute goes into effect, the capacity of hospitals in neighboring states

that do not prohibit physicians from providing EMTALA-mandated care

(Washington and Oregon, for example)—would be pressured as patients may

choose to cross state lines to get the emergency care they are entitled to receive


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under federal law. See Dkt. 45-1, at 16-17.

      Turning to the other side of the equitable balance sheet, the State of Idaho

will not suffer any real harm if the Court issues the modest preliminary injunction

the United States is requesting. In fact, as a practical matter, the State (and, to a

much greater extent, the Legislature) argue that physicians who perform the types

of emergency abortions at issue here won’t violate Idaho law anyway; therefore, by

their own reasoning, they will suffer no harm if enforcement of § 18-622 is

enjoined on this limited basis. And although the State has argued that in the wake

of Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228 (2022), the public

interest lies in allowing states to regulate abortions, Dobbs did not overrule the

Supremacy Clause. Thus, even when it comes to regulating abortion, state law

must yield to conflicting federal law. As such, the public interest lies in favor of

enjoining the challenged Idaho law to the extent it conflicts with EMTALA.

                                       ORDER

IT IS ORDERED that:

   1. Plaintiff’s motion for a preliminary injunction (Dkt. 17) is GRANTED.

   2. The Court hereby restrains and enjoins the State of Idaho, including all of its

      officers, employees, and agents, from enforcing Idaho Code § 18-622(2)-(3)

      as applied to medical care required by the Emergency Medical Treatment

      and Labor Act (EMTALA), 42 U.S.C. § 1395dd. Specifically, the State of


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     Idaho, including all of its officers, employees, and agents, are prohibited

     from initiating any criminal prosecution against, attempting to suspend or

     revoke the professional license of, or seeking to impose any other form of

     liability on, any medical provider or hospital based on their performance of

     conduct that (1) is defined as an “abortion” under Idaho Code § 18-604(1),

     but that is necessary to avoid (i) “placing the health of” a pregnant patient

     “in serious jeopardy”; (ii) a “serious impairment to bodily functions” of the

     pregnant patient; or (iii) a “serious dysfunction of any bodily organ or part”

     of the pregnant patient, pursuant to 42 U.S.C. § 1395dd(e)(1)(A)(i)-(iii).

  3. This preliminary injunction is effective immediately and shall remain in full

     force and effect through the date on which judgment is entered in this case.

                                             DATED: August 24, 2022


                                             _________________________
                                             B. Lynn Winmill
                                             United States District Judge




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                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF IDAHO
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                        Case No. 1:22-cv-00329-BLW

      Plaintiff,                                 IDAHO LEGISLATURE’S MOTION
                                                 TO STAY PRELIMINARY
v.                                               INJUNCTION [Dkt. 95] PENDING
                                                 APPEAL
THE STATE OF IDAHO,

      Defendant.


       The Speaker of the Idaho House of Representatives Mike Moyle, Idaho Senate

President Pro Tempore Chuck Winder, and the Sixty-Seventh Legislature respectfully

move this Court for a stay of its orders dated August 24, 2022 (Dkt. 95) and May 4, 2023,

pending disposition of an appeal to the United States Court of Appeals for the Ninth Circuit




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and proceedings, if any, before the Supreme Court of the United States. This motion is

supported by a supporting memorandum filed contemporaneously herewith.

Dated this 3rd day of July, 2023.

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                                       By:    /s/ Daniel W. Bower
                                               Daniel W. Bower


                                        /s/ Monte Neil Stewart
                                       Monte Neil Stewart

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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of July, 2023, I electronically filed the foregoing
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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                          Plaintiff,                       Case No. 1:22-cv-329

 v.                                                        COMPLAINT

 THE STATE OF IDAHO,

                          Defendant.


        The United States of America, by and through its undersigned counsel, brings this civil action

for declaratory and injunctive relief, and alleges as follows:
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                                  PRELIMINARY STATEMENT

        1.       Under federal law, hospitals that receive federal Medicare funds are required to provide

necessary stabilizing treatment to patients who arrive at their emergency departments while

experiencing a medical emergency.        Under the Emergency Medical Treatment and Labor Act

(EMTALA), 42 U.S.C. § 1395dd, if a person with an "emergency medical condition" seeks treatment

at an emergency department at a hospital that accepts Medicare funds, the hospital must provide

medical treatment necessary to stabilize that condition before transferring or discharging the patient.

Crucially, "emergency medical conditions" under the statute include not just conditions that present

risks to life but also those that place a patient's "health" in "serious jeopardy'' or risk "serious

impairment to bodily functions" or "serious dysfunction of any bodily organ or part."

       2.        In some circumstances, medical care that a state may characterize as an "abortion" is

necessary emergency stabilizing care that hospitals are required to provide under EMTALA. Such

circumstances may include, but are not limited to, ectopic pregnancy, severe preeclampsia, or a

pregnancy complication threatening septic infection or hemorrhage.

       3.        The State of Idaho, however, has passed a near-absolute ban on abortion. Once the

Idaho law takes effect on August 25, 2022, Idaho Code § 18-622 will make it a felony to perform an

abortion in all but extremely narrow circumstances. The Idaho law would make it a criminal offense

for doctors to comply with EMTALA's requirement to provide stabilizing treatment, even where a

doctor determines that abortion is the medical treatment necessary to prevent a patient from suffering

severe health risks or even death.

       4.        Under the Idaho law, once effective, any state or local prosecutor can subject a

physician to indictment, arrest, and prosecution merely by showing that an abortion has been

performed, without regard to the circumstances. The law then puts the burden on the physician to

prove an "affirmative defense" at trial. Idaho Code§ 18-622(3) (2022). Nothing protects a physician



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from arrest or criminal prosecution under Idaho's law, and a physician who provides an abortion in

Idaho can avoid criminal liability only by establishing that "the abortion was necessary to prevent the

death of the pregnant woman" or that, before performing the abortion, the pregnant patient (or, in

some circumstances, their parent or guardian) reported an "act of rape or incest" against the patient

to a specified agency and provided a copy of the report to the physician. Id. Beyond care necessary

to prevent death, the law provides no defense whatsoever when the health of the pregnant patient is

at stake. And, even in dire situations that might qualify for the Idaho law's limited "necessary to

prevent the death of the pregnant woman" affirmative defense, some providers could withhold care

based on a well-founded fear of criminal prosecution.

        5.       Idaho's abortion law will therefore prevent doctors from performing abortions even

when a doctor determines that abortion is the medically necessary treatment to prevent severe risk to

the patient's health and even in cases where denial of care will likely result in death for the pregnant

patient. To the extent Idaho's law prohibits doctors from providing medically necessary treatment,

including abortions, that EMTALA requires as emergency medical care, Idaho's new abortion law

directly conflicts with EMTALA. See 42 U.S.C. § 1395dd(f) (EMTALA preempts State laws "to the

extent that the requirement directly conflicts with a requirement of this section"). To the extent

Idaho's law renders compliance with EMTALA impossible or stands as an obstacle to the

accomplishment of federal statutes and objectives, EMTALA preempts the Idaho law under the

Supremacy Clause of the United States Constitution.

        6.       In this action, the United States seeks a declaratory judgment that Idaho's law is invalid

under the Supremacy Clause and is preempted by federal law to the extent that it conflicts with

EMTALA. The United States also seeks an order preliminarily and permanently enjoining Idaho's

restrictive abortion law to the extent it conflicts with EMTALA.




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                                   JURISDICTION AND VENUE

         7.       This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1345.

         8.       Venue is proper in this judicial district under 28 U.S.C. § 1391(6) because Defendant

resides within this judicial district and because a substantial part of the acts or omissions giving rise to

this action arose from events occurring within this judicial district.

         9.       Pursuant to D. Idaho Civ. R. 3.1, venue is proper in the Southern Division because

Defendant legally resides in Ada County, Idaho, and because that is where the claim for relief arose.

                                                PARTIES

         10.      Plaintiff is the United States of America.

         11.      Defendant, the State of Idaho, is a State of the United States. The State of Idaho

includes all of its officers, employees, and agents.

                                 SUPREMACY OF FEDERAL LAW

  I.     The Supremacy Clause and Preemption

         12.      The Supremacy Clause of the U.S. Constitution mandates that "[t]his Constitution,

and the Laws of the United States which shall be made in Pursuance thereof ... shall be the supreme

Law of the Land . . . any Thing in the Constitution or Laws of any State to the Contrary

notwithstanding." U.S. Const. art. VI, cl. 2.

         13.      "[S]tates have no power .. . to retard, impede, burden, or in any manner control the

operations of the Constitutional laws enacted by [qongress to carry into effect the powers vested in

the national government." M'Culloch v. Maryland, 17 U.S. (4 Wheat.) 316,317 (1819). "There is no

doubt Congress may withdraw specified powers from the States by enacting a statute containing an

express preemption provision," and a State law is invalid if it conflicts with such a provision. Arizona

v. United States, 567 U.S. 387, 399 (2012). Likewise, a State law is invalid if compliance with the state




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and federal law is impossible or if the state law "stands as an obstacle to the accomplishment and

execution of the full purposes and objectives of Congress." Hines v. DavidowifZ; 312 U.S. 52, 67 (1941).

 II.     The Emergency Medical Treatment and Labor Act (EMTALA)

         14.    Medicare, enacted in 1965 as Title XVIII of the Social Security Act, 42 U.S.C. § 1395

et seq., is a federally funded program, administered by the Secretary of the Department of Health and

Human Services (HHS), that pays health care providers or insurers for health care services under

certain circumstances.

         15.    Medical providers' participation in Medicare is voluntary. When providers agree to

participate in Medicare, they submit provider agreements to the Secretary of HHS. See 42 U.S.C.

§ 1395cc. Hospitals submitting such agreements agree that they will "adopt and enforce a policy to

ensure compliance with the requirements of [EMTALA] and to meet the requirements of

[EMTALA]." Id.§ 1395cc(a)(1)(I)(i).

         16.    Under EMTALA, hospitals participating in Medicare are generally required to provide

stabilizing health care to all patients who arrive at an emergency department suffering from an

emergency medical condition. See 42 U.S.C. § 1395dd.

         17.    Specifically, EMTALA requires these hospitals to "screen" patients who request

treatment at the hospital's emergency department and provide "necessary stabilizing treatment,"

including an appropriate transfer to another facility that is able to provide stabilizing care not available

at the originating hospital, for any "emergency medical condition" the hospital identifies. 42 U.S.C.

§ 1395dd.

         18.    The screening requirement necessitates that hospitals act "to determine whether or

not an emergency medical condition" exists. Id.§ 1395dd(a); see also 42 C.F.R. § 489.24(a) (noting that

EMTALA requires "an appropriate medical screening examination within the capability of the

hospital's emergency department").



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        19.     Congress defined an "emergency medical condition" in EMTALA as:

        (A) a medical condition manifesting itself by acute symptoms of sufficient severity (including
        severe pain) such that the absence of immediate medical attention could reasonably be
        expected to result in-

                (i) placing the health of the individual (or, with respect to a pregnant woman, the
                health of the woman or her unborn child) in serious jeopardy,

                (ii) serious impairment to bodily functions, or

                (iii) serious dysfunction of any bodily organ or part ...

        (B) with respect to a pregnant woman who is having contractions-

                 (i) that there is inadequate time to effect a safe transfer to another hospital before
                 delivery, or

                 (ii) that transfer may pose a threat to the health or safety of the woman or the unborn
                 child.

42 U.S.C. § 1395dd(e)(1).

        20.     If the hospital determines an individual has an emergency medical condition, "the

hospital must provide either" (1) "further medical examination and such treatment as may be required

to stabilize the medical condition," or (2) "transfer of the individual to another medical facility in

accordance with" certain requirements. Id. § 1395dd(b)(1); see also 42 C.F.R. § 489.24(a)(1)(i)-(ii). The

hospital may also "admit0 th[e] individual as an inpatient in good faith in order to stabilize the

emergency medical condition." 42 C.F.R. § 489.24(d)(2)(i).

        21.     EMTALA defines "to stabilize" to mean "to provide such medical treatment of the

condition as may be necessary to assure, within reasonable medical probability, that no material

deterioration of the condition is likely to result from or occur during the transfer of the individual

from a facility." 42 U.S.C. § 1395dd(e)(3)(A). The term "transfer" is defined to include "discharge"

of a patient. Id. § 1395dd(e)(4).

        22.     A hospital may not transfer (including by discharging) an individual with an emergency

medical condition who has not been stabilized, unless, inter alia, the individual requests a transfer or a


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physician certifies that the benefits of a transfer to another medical facility outweigh the increased

risks to the patient. Id. § 1395dd(c).

        23.     In short, when an emergency medical condition exists, EMTALA requires

participating hospitals to provide "stabilizing" treatment, as determined by the particular hospital's

facilities and the treating physician's professional medical judgment.

        24.     As relevant here, there are some pregnancy-related emergency medical conditions-

including, but not limited to, ectopic pregnancy, severe preeclampsia, or a pregnancy complication

threatening septic infections or hemorrhage-for which a physician could determine that the

necessary stabilizing treatment is care that could be deemed an "abortion" under Idaho law. 1 In that

scenario, EMTALA requires the hospital to provide that stabilizing treatment. See Dep't of Health

and Human Servs., Reinforcement if EMTALA Obligations specific to Patients who are Pregnant or are

Experiencing Pregnanry Loss, CENTERS FOR MEDICARE & MEDICAID SERVICES (July 11, 2022),

https://www.cms.gov/ files/ document/ qso-22-22-hospitals.pdf; see also Reinforcement if EMTALA

Obligations specific to Patients who are Pregnant or are Experiencing Pregnanry Loss, CENTERS FOR

MEDICARE              &         MEDICAID               SERVICES          (Sept.      17,       2021),

https://www.cms.gov/files/ document/ qso-21-22-hospital.pdf.

        25.     EMTALA contains an express preemption provision, which preempts State laws "to

the extent that the requirement directly conflicts with a requirement of this section." 42 U.S.C.

§ 1395dd(f).




1 Termination of an ectopic pregnancy-which can never lead to a live birth and poses inherent danger

to pregnant patients-is not considered an abortion by medical experts. However, the termination of
an ectopic pregnancy appears to fall within Idaho's broad definition of abortion. See Idaho Code§ 18-
604(1).


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                                    IDAHO'S ABORTION LAW

        26.     In 2020, Idaho enacted a law that severely restricts abortions and threatens criminal

prosecution against anyone who performs an abortion. The law, codified at Idaho Code§ 18-622, is

currently set to take effect on August 25, 2022, which is 30 days after issuance of the judgment in

Dobbs v. Jackson Women's Health Organization, 142 S. Ct. 2228 (2022). See Idaho Code§ 18-622(1)(a).

        27.     Under Idaho's abortion law, "[e]very person who performs or attempts to perform an

abortion ... commits the crime of criminal abortion." Id. § 18-622(2). The crime of "criminal

abortion" is a felony, punishable by two to five years imprisonment. Id.

        28.     Idaho's law also requires that "[t]he professional license of a'!)' health care professional

who performs or attempts to perform an abortion or who assists in performing or attempting to

perform an abortion in violation of this subsection shall be suspended by the appropriate licensing

board for a minimum of six (6) months upon a first offense and shall be permanently revoked upon

a subsequent offense." Id. (emphasis added).

        29.    The Idaho law defines "[a]bortion" to mean "the use of any means to intentionally

terminate the clinically diagnosable pregnancy of a woman with knowledge that the termination by

those means will, with reasonable likelihood, cause the death of the unborn child." Id. § 18-604(1).

        30.    The prima facie criminal prohibition in Idaho's law does not contain any exceptions for

when the pregnant patient's health or life is endangered.          Thus, the mere performance of an

abortion-even in an emergency, life-saving scenario-would subject a provider to criminal

prosecution and require the provider to raise one of the law's narrow affirmative defenses at trial.

        31.     Idaho's abortion law provides for only two affirmative defenses, either of which the

provider must prove by a preponderance of the evidence. In other words, once a prosecutor or

licensing authority proves the prima facie case of an abortion having been performed, an accused

physician may try to avoid conviction, incarceration, and loss of license by raising one of two



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affirmative defenses, but bears the burden of proving the defense to a jury, along with the expense

and uncertainty that flow from that burden.

         32.       Specifically, the accused physician would have to prove to a jury: (1) that "[t]he

physician determined, in his good faith medical judgment and based on the facts known to the

physician at the time, that the abortion was necessary to prevent the death of the pregnant woman,"

or (2) in cases of rape or incest, that the woman, or, if a minor, the woman or her parent or guardian,

"has reported the act of rape or incest to a law enforcement agency" and the physician, prior to

performing the abortion, received a copy of a police report (or, in the case of a minor, a police report

or report to child protective services) regarding "the act of rape or incest." Idaho Code § 18-

622(3)(a)(ii), (b)(ii)-(iii).

         33.       There is no affirmative defense applicable in circumstances where an abortion is

necessary to ensure the health of the pregnant patient-even where the patient faces serious medical

jeopardy or impairment-if the care is not "necessary to prevent the death" of the patient.

         34.       In addition, it is a requirement for both affirmative defenses, and thus the physician

would have to prove, that the physician "performed or attempted to perform the abortion in the

manner that, in his good faith medical judgment and based on the facts known to the physician at the

time, provided the best opportunity for the unborn child to survive, unless, in his good faith medical

judgment, termination of the pregnancy in that manner would have posed a greater risk of the death

of the pregnant woman." Id. § 18-622(3)(a)(iii), (b)(iv) .

                    IDAHO'S ABORTION LAW CONFLICTS WITH EMTALA

         35.       Within the State of Idaho, there are approximately 43 hospitals that voluntarily

participate in Medicare. Approximately 39 of those hospitals have emergency departments that are

required to comply with EMTALA.




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        36.     Idaho's criminal prohibition of all abortions, subject only to the statute's two limited

affirmative defenses, conflicts with EMTALA. Idaho's criminal prohibition extends even to abortions

that a physician determines are necessary stabilizing treatment that must be provided under EMTALA.

        37.     In particular, EMTALA's definition of an emergency medical condition-for which

the hospital would be required to facilitate stabilizing treatment-is broader than just those

circumstances where treatment is "necessary to prevent ... death" under Idaho law. For example,

EMTALA requires stabilizing treatment where "the health" of the patient is "in serious jeopardy," or

where continuing a pregnancy could result in a "serious impairment to bodily functions" or a "serious

dysfunction of any bodily organ or part." 42 U.S.C. § 1395dd(e)(1)(A)(i)-(iii). Idaho has criminalized

performing abortions in those circumstances, even when a physician has determined that an abortion

is the necessary stabilizing treatment for a patient's emergency medical condition. The Idaho law

therefore conflicts with federal law and is, in this respect, preempted.

        38.     The Idaho law also conflicts with EMTALA because the only limited protection it

affords for even life-saving abortions is in the form of an affirmative defense where the provider bears

the burden of proof at trial. Idaho's law subjects every provider who performs an abortion to the

threat of indictment, arrest, and criminal prosecution. The law likewise subjects every provider and

employee who performs or assists in performing an abortion to potential loss of their medical license.

By threatening providers with criminal prosecution and license revocation proceedings for every

abortion, regardless of whether it was "necessary to prevent ... death," the Idaho law will deter

physicians from performing abortions they have determined are medically necessary and thus must be

provided under federal law. This is true even in the limited situations in which the abortions could be

deemed defensible at a physician's criminal trial. ''Where a prosecution is a likely possibility, yet only

an affirmative defense is available," there "is a potential for extraordinary harm and a serious chill"

upon protected conduct. Ashcroft v. ACLU, 542 U.S. 656, 670-71 (2004). Here, the law's obvious



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chilling effect on providers' willingness to perform abortions, even when abortions are determined to

be necessary medical treatments, is itself an impediment to the accomplishment of EMTALA's goal

of ensuring that patients receive emergency care. The Idaho law is therefore preempted.

           IDAHO'S ABORTION LAW CAUSES INJURY TO FEDERAL INTERESTS

           39.    The Idaho abortion law will become effective on August 25, 2022.

           40.    Following the Supreme Court's decision in Dobbs, the Governor of Idaho issued a

press release stating that "Idaho has been at the forefront of enacting new laws" to restrict abortion,

and specifically referencing § 18-622 as a bill that the Governor "signed into law" and "will go into

effect later this summer."2

           41.    Before filing this lawsuit, on July 29, 2022, the United States sent a letter to the State

ofldaho, expressing the United States' view that§ 18-622 was contrary to federal law. The United

States did not receive a substantive response.

           42.    Once the law goes into effect on August 25, 2022, providers will immediately be

subject to the threat of arrest, imprisonment, criminal liability, and loss of license for providing

federally required care.

           43.    Severe harm will result from Idaho's law, which violates the Supremacy Clause. See

New Orleans Pub. Serv., Inc. v. Council of City ofNew Orleans, 491 U.S. 350, 366-67 (1989) (assuming that

irreparable injury may be established "by a showing that the challenged state statute is flagrantly and

patently violative of ... the express constitutional prescription of the Supremacy Clause" (citation

omitted)).

    I.     Idaho's Abortion Law Threatens Severe Public Health Consequences

           44.    If Idaho's abortion law is allowed to take effect, physicians in Idaho will be threatened

with prosecution under a state law that prohibits them from providing necessary stabilizing medical


2   https: / / gov.idaho.gov / pressrelease/ gov-little-comments-on-scotus-overrule-of-roe-v-wade/


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treatment required by EMTALA.          Physicians will be faced with an untenable choice--either to

withhold critical stabilizing treatment required under EMTALA or to risk criminal prosecution and

potential loss of their professional licenses. As a result of Idaho's physicians being placed in this

position, patients will suffer-including by having their care delayed or losing access to necessary

health care that is guaranteed under federal law. Particularly in emergency circumstances, or when

dealing with considerations of risk to an individual's life or health, delayed health care can pose serious

harms and is exactly what EMTALA's requirements are designed to prevent. In short, the Idaho law

threatens severe public health consequences.

         45.    For example, pregnant patients sometimes arrive at a hospital's emergency department

with an emergency medical condition for which physicians reasonably determine that the appropriate

stabilizing treatment is an emergency abortion. Physicians facing a threat of criminal prosecution for

performing an emergency abortion may be reluctant to perform the procedure-even when their

medical judgment leads them to conclude that the procedure is necessary. The loss of that necessary

treatment will result in irreversible damage to the health of a pregnant patient in some instances, and

in other cases could lead to death.

         46.    The Idaho law will deprive pregnant patients of necessary treatment required by

EMTALA notwithstanding the Idaho law's affirmative defense for abortions "necessary to prevent

the death of the pregnant woman." Idaho Code § 18-622(3)(a)(ii). Because that defense is available

only during criminal prosecution or licensing proceedings, the law still subjects providers to the threat

of criminal prosecution and potential loss of license for performing a life-saving abortion. And even

the law's affirmative defense does not allow for abortions in emergency situations where pregnancy

can reasonably be expected to place the health of the pregnant patient in serious jeopardy, seriously

impair the pregnant patient's bodily functions, or cause serious dysfunction of any bodily part or

organ.



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 II.     Idaho's Law Interferes with EMTALA Obligations under the Federal Medicare
         Program

         47.   As discussed above, Idaho's abortion law directly conflicts with the important federal

policy reflected in EMTALA, 42 U.S.C. § 1395dd, through which Congress codified a guarantee of

necessary stabilizing medical treatment for patients with emergency medical conditions, including

pregnant patients, who seek care at emergency departments. See id. § 1395dd(a), (b), (e)(l), (g).

         48.    Congress intended EMTALA to govern nationwide in every hospital that accepts

Medicare funds, as confirmed by its express preemption of conflicting State laws. Id. § 1395dd(±).

Idaho's law frustrates Congress's objective of guaranteeing nationwide emergency medical care at

Medicare hospitals, because Idaho law prohibits a particular form of medical treatment-even when

that treatment is necessary to stabilize a patient experiencing an emergency medical condition. The

United States has a strong sovereign interest in ensuring that States may not disrupt the federal

objectives embodied in EMTALA, particularly when States seek to hold physicians criminally liable

for providing stabilizing emergency treatment required under federal law.

         49.   The United States has an interest in protecting the integrity of the funding it provides

under Medicare and ensuring that hospitals who are receiving Medicare funding will not refuse to

provide stabilizing treatment to patients experiencing medical emergencies. From 2019 to 2020, HHS

paid approximately 74 million dollars for emergency department care in Idaho hospitals enrolled in

Medicare. A condition of hospitals' enrollment in Medicare is that they agree to comply with

EMTALA. See id. § 1395cc(a)(l)(I)(i). Thus, part of the United States' bargain when it agrees to

provide Medicare reimbursement to hospitals is that those hospitals will, in return, provide all forms

of stabilizing treatment to emergency department patients, consistent with EMTALA.

         50.   Idaho's law prevents the United States from receiving the benefit of its bargain,

however, by affirmatively prohibiting Idaho hospitals from complying with certain obligations under

EMTALA. Thus, Idaho's law undermines the overall Medicare program and the funds that the United


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States provides in connection with that program, by precluding the United States from receiving one

of the benefits to which it is entitled under the Medicare program.

         51.    Idaho's law also improperly interferes with the United States' pre-existing agreements

with hospitals under Medicare. Under these agreements, each hospital (including those in Idaho) must

certify that it "agrees to conform to the provisions of section 1866 of the Social Security Act and

applicable provisions in 42 CFR," CMS Form 1561, and those referenced provisions likewise include

obligations to comply with EMTALA. 3

         52.    Approximately 43 hospitals       ill    Idaho have signed Medicare agreements, and

approximately 39 of those hospitals have emergency departments that must comply with EMTALA.

Compliance with Idaho's law would force these hospitals to violate their agreements with the United

States because Idaho criminalizes the provision of stabilizing medical services required by EMTALA,

and thus Idaho's law likewise interferes with the United States' interests.

         53.    Waiting to initiate federal enforcement actions directly against physicians or hospitals

would likely have significant negative consequences on public health, including because such actions

could be pursued only after physicians or hospitals had first denied emergency care to an individual in

need. Unless the action is filed against a state-run hospital, the State would not be a party to a federal

enforcement action, and the State's absence would further delay the resolution of this issue.

Meanwhile, patients would be denied important life-saving and stabilizing medical care, resulting in

needless suffering and even loss of life. Physicians and hospitals should not be placed in the untenable

position of risking criminal prosecution under state law or subjecting themselves to enforcement

actions under federal law. Pregnant patients who arrive at an emergency department are entitled to

the stabilizing emergency care ensured under federal law when experiencing life- or health-threatening

conditions.


3   https://www.cms.gov/Medicare/CMS-Forms/ CMS-Forms/ downloads/ cmsl 561.pdf


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         54.    The law likewise stands as an obstacle to Congress's goal of ensuring that patients

receive effective emergency care by threatening the professional license of a,ry health care professional

who "assists" in performing or attempting to perform an abortion. Idaho Code § 18-622(2). In

particular, the law threatens a six-month suspension of the license of any health care professional who

assists in an abortion or, on a second offense, threatens to permanently bar these providers from their

professional practice. A pregnant patient who arrives in the emergency department with an emergency

condition is likely to encounter not just emergency department physicians but also triage nurses, scrub

nurses, lab techs, radiologists, anesthesiologists, and others whose role in any procedure could

constitute "assisting" in the performance of an abortion. By threatening the license of other hospital

employees whose care is critical to providing emergency department care, Idaho's law impedes

EMTALA's goal of ensuring that patients receive effective emergency care.

                                       CLAIM FOR RELIEF

                    Preemption Under the Supremacy Clause and EMTALA

         55.    Plaintiff hereby incorporates paragraphs 1 through 54 as if fully set forth herein.

         56.    The Supremacy Clause provides that "[t]his Constitution, and the Laws of the United

States which shall be made in Pursuance thereof ... shall be the supreme Law of the Land ... any

Thing in the Constitution or Laws of any State to the Contrary notwithstanding." U.S. Const. art. VI,

cl. 2.

         57.    EMTALA expressly preempts State laws "to the extent that the requirement directly

conflicts with a requirement of this section." 42 U.S.C. § 1395dd(f). Idaho Code § 18-622 violates

the Supremacy Clause and is preempted to the extent it is contrary to EMTALA.

         58.    The law imposes requirements that are contrary to EMTALA and impedes the

accomplishment and execution of the full purposes and objectives of federal law and is therefore

preempted.



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       59.        The Idaho law therefore violates the Supremacy Clause and is preempted under federal

law to the extent that it conflicts with EMTALA.

                                       PRAYER FOR RELIEF

       WHEREFORE, the United States respectfully requests the following relief:

             a. A declaratory judgment stating that Idaho Code § 18-622 violates the Supremacy

                   Clause and is preempted and therefore invalid to the extent that it conflicts with

                   EMTALA;

             b. A declaratory judgment stating that Idaho may not initiate a prosecution against, seek

                   to impose any form of liability on, or attempt to revoke the professional license of

                   any medical provider based on that provider's performance of an abortion that is

                   authorized under EMTALA;

             c. A preliminary and permanent injunction against the State of Idaho-including all of

                   its officers, employees, and agents-prohibiting enforcement of Idaho Code § 18-

                   622(2)-(3) to the extent that it conflicts with EMTALA;

             d. Any and all other relief necessary to fully effectuate the injunction against Idaho Code

                   § 18-622's enforcement to the extent it conflicts with EMTALA;

             e. The United States' costs in this action; and

             f.    Any other relief that the Court deems just and proper.




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Dated: August 2, 2022                          Respectfully submitted,

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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                       Plaintiff,                   Case No. 1:22-cv-329-BLW

 v.                                                 MEMORANDUM IN SUPPORT OF
                                                    MOTION FOR A PRELIMINARY
 THE STATE OF IDAHO,                                INJUNCTION

                       Defendant.
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                                         INTRODUCTION

        Federal law requires certain hospitals receiving federal Medicare funds to offer treatment to

individuals experiencing medical emergencies. Under the Emergency Medical Treatment and Labor

Act (EMTALA), 42 U.S.C. § 1395dd, individual patients must be provided “stabilizing care” when

they seek treatment at a covered hospital for an “emergency medical condition.” An emergency

medical condition exists when a patient’s “health” is in “serious jeopardy” or the patient risks “serious

impairment to bodily functions” or “serious dysfunction of any bodily organ or part.” 42 U.S.C.

§ 1395dd(e)(1)(A). Some patients who experience these medical emergencies are pregnant, and in

some situations the necessary stabilizing treatment for such a pregnant patient involves termination

of the pregnancy. In those circumstances, EMTALA requires that hospitals offer that stabilizing

treatment to the patient, who can then decide whether to proceed.

        In direct conflict with this federal requirement, the State of Idaho has enacted a near-absolute

ban on abortion that is scheduled to go into effect on August 25, 2022. See Idaho Code § 18-622

(2020). Under Idaho’s law, any physician who terminates a pregnancy can be indicted, arrested, and

prosecuted on felony charges, regardless of the medical need for the procedure. A physician may avoid

criminal liability only by proving a narrow “affirmative defense”—as relevant here, that the abortion

was “necessary to prevent the death of the pregnant woman.” Id. § 18-622(3)(a)(ii). That defense is far

narrower than the circumstances in which EMTALA requires providing stabilizing treatment. Where

EMTALA’s standard is met but the treatment is not strictly “necessary to prevent the death” of the

patient, it is impossible for a physician to comply both with the obligations of EMTALA and § 18-

622. And even in cases where termination of the pregnancy is necessary to prevent the patient’s death,

the Idaho law requires a physician to risk arrest and prosecution for each abortion performed because

the law affords only an “affirmative defense” that the physician must prove at trial. By threatening

physicians with criminal prosecution—even when they provide treatment in emergency, life-



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threatening situations as federal law requires—Idaho’s law penalizes and discourages such treatment,

and thereby conflicts directly with federal law. In these respects, federal law preempts § 18-622.

        If allowed to go into effect, the Idaho law will cause significant irreparable harm, including to

the public health of patients across Idaho. As the declaration of Dr. Lee A. Fleisher (attached as Ex. A)

demonstrates, there are emergency conditions affecting pregnant individuals for which the medically

necessary treatment involves termination of the pregnancy. But § 18-622 criminalizes providing such

treatment, despite the extremely serious risk that, for example, a patient with an ectopic pregnancy

might bleed to death, an infection could turn into sepsis and cause organ failure, or seizures caused by

eclampsia might prove uncontrollable. Physicians practicing within Idaho likewise confirm that, if

§ 18-622 takes effect, pregnant patients experiencing emergency conditions will suffer. See Decls. of

Dr. Emily Corrigan, Dr. Kylie Cooper, and Dr. Stacy T. Seyb (attached hereto as Exs. B-D). These

facts establish clear irreparable harm and a strong public interest in enjoining § 18-622 from going

into effect as applied to EMTALA-mandated care. The Court should grant the United States’ motion

for a preliminary injunction.

                                          BACKGROUND

I.      Federal Law

        A.      Supremacy of Federal Law

        The Supremacy Clause of the U.S. Constitution mandates that “[t]his Constitution, and the

Laws of the United States which shall be made in Pursuance thereof . . . shall be the supreme Law of

the Land . . . any Thing in the Constitution or Laws of any State to the Contrary notwithstanding.”

U.S. Const. art. VI, cl. 2. Pursuant to that principle, “states have no power . . . to retard, impede,

burden, or in any manner control the operations of the Constitutional laws enacted by [C]ongress to

carry into effect the powers vested in the national government.” M’Culloch v. Maryland, 17 U.S. (4

Wheat.) 316, 317 (1819).



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        When “Congress enacts a law that imposes restrictions or confers rights on private actors,”

and “a state law confers rights or imposes restrictions that conflict with the federal law,” the “federal

law takes precedence and the state law is preempted.” Murphy v. NCAA, 138 S. Ct. 1461, 1480 (2018).

If a “statute contains an express pre-emption clause, we do not invoke any presumption against pre-

emption but instead focus on the plain wording of the clause, which necessarily contains the best

evidence of Congress’ pre-emptive intent.” Puerto Rico v. Franklin Calif. Tax-Free Tr., 579 U.S. 115, 125

(2016) (citation omitted).

        B.      The Emergency Medical Treatment and Labor Act (EMTALA)

        Medicare is a federally funded program, administered by the Secretary of Health and Human

Services (HHS), that generally pays health care providers for health care services under certain

circumstances. See 42 U.S.C. § 1395 et seq. Participation in Medicare is voluntary, and each provider

must submit an agreement to the Secretary promising to comply with certain conditions in return for

receipt of Medicare funding. See id. § 1395cc. Although Medicare generally does not contemplate

Federal employees “exercis[ing] any supervision or control over the practice of medicine or the

manner in which medical services are provided,” 42 U.S.C. § 1395, that does not prevent the Federal

Government from establishing and enforcing conditions of participation in Medicare, see Biden v.

Missouri, 142 S. Ct. 647, 654 (2022), nor does it eliminate Congress’s “broad power under the Spending

Clause of the Constitution to set the terms on which it disburses federal funds.” Cummings v. Premier

Rehab Keller, PLLC, 142 S. Ct. 1562, 1568 (2022).

        Congress enacted EMTALA in 1986, based on “a growing concern about the provision of

adequate emergency room medical services to individuals who seek care, particularly as to the indigent

and uninsured.” H.R. Rep. No. 99-241, Part 3, at 5 (1985); see also Arrington v. Wong, 237 F.3d 1066,

1073-74 (9th Cir. 2001) (“The overarching purpose of EMTALA is to ensure that patients, particularly

the indigent and underinsured, receive adequate emergency medical care.” (alterations and citations



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omitted)). EMTALA applies to every hospital that has an emergency department and participates in

Medicare, see 42 U.S.C. § 1395dd(e)(2), regardless of whether any particular patient qualifies for

Medicare. Congress has statutorily required that hospitals participating in Medicare agree to comply

with EMTALA as a condition of receiving federal funding. See id. § 1395cc(a)(1)(I)(i).

        Under EMTALA, when a patient arrives at an emergency department and requests treatment,

the hospital must provide an appropriate medical screening examination “to determine whether or

not an emergency medical condition” exists. Id. § 1395dd(a); see also 42 C.F.R. § 489.24(a)(1)(i).

Congress defined an “emergency medical condition” as:

        (A) a medical condition manifesting itself by acute symptoms of sufficient severity
        (including severe pain) such that the absence of immediate medical attention could
        reasonably be expected to result in-
            (i) placing the health of the individual (or, with respect to a pregnant woman, the
            health of the woman or her unborn child) in serious jeopardy,
            (ii) serious impairment to bodily functions, or
            (iii) serious dysfunction of any bodily organ or part …

        (B) with respect to a pregnant woman who is having contractions-
            (i) that there is inadequate time to effect a safe transfer to another hospital before
            delivery, or
            (ii) that transfer may pose a threat to the health or safety of the woman or the
            unborn child.

42 U.S.C. § 1395dd(e)(1). If a hospital determines that an individual has an emergency medical

condition, “the hospital must provide either (A) within the staff and facilities available at the hospital,

for such further medical examination and such treatment as may be required to stabilize the medical

condition, or (B) for transfer of the individual to another medical facility in accordance with” certain

requirements. Id. § 1395dd(b)(1); see also 42 C.F.R. § 489.24(a)(1)(ii). The hospital may also “admit[]

th[e] individual as an inpatient in good faith in order to stabilize the emergency medical condition.”

42 C.F.R. § 489.24(d)(2)(i). Under EMTALA, “to stabilize” means “to provide such medical treatment

of the condition as may be necessary to assure, within reasonable medical probability, that no material

deterioration of the condition is likely to result from or occur during the transfer of the individual



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from a facility.” 42 U.S.C. § 1395dd(e)(3)(A). “[T]ransfer” is defined to include discharge of a patient.

Id. § 1395dd(e)(4). A hospital satisfies its obligations under EMTALA if, after being informed of the

risks and benefits of treatment, the patient (or the patient’s representative) does not consent to the

treatment. Id. § 1395dd(b)(2).

        In short, EMTALA requires that hospitals offer stabilizing treatment where “the health” of

the patient is “in serious jeopardy,” or where a condition could result in a “serious impairment to

bodily functions” or a “serious dysfunction of any bodily organ or part.” Id. § 1395dd(e)(1)(A)(i)-(iii).

The hospital may also “transfer” such an individual, but only if the transfer meets certain requirements,

e.g., that the medical benefits of the transfer outweigh the risks. Id. § 1395dd(c)(1)(A)(ii).

        EMTALA contains an express preemption provision, preserving state laws “except to the

extent that the requirement directly conflicts with a requirement of this section.” Id. § 1395dd(f). The

intent of this provision was to preserve “stricter state laws,” i.e., state laws requiring emergency care

beyond what EMTALA mandates. H.R. Rep. No. 99-241, Part 1, at 4 (1985); see also H.R. Rep. No. 99-

241, Part 3, at 5 (1985) (expressing a desire to add “federal sanctions” as a supplement to state law

duties “to provide necessary emergency care”); Harry v. Marchant, 291 F.3d 767, 773-74 (11th Cir.

2002). For purposes of EMTALA, “[a] state statute ‘directly conflicts’ with federal law in either of two

cases: first, if ‘compliance with both federal and state regulations is a physical impossibility,’ or second,

if the state law is ‘an obstacle to the accomplishment and execution of the full purposes and objectives

of Congress.” Draper v. Chiapuzio, 9 F.3d 1391, 1393 (9th Cir. 1993) (citations omitted) (per curiam);

accord Hardy v. N.Y.C. Health & Hosp. Corp., 164 F.3d 789, 795 (2d Cir. 1999).

        C.      Idaho Hospitals’ Participation in Medicare and Their Agreements to Comply
                with EMTALA Obligations

        As noted, a hospital participating in Medicare must comply with EMTALA as a condition of

receiving federal funds. See 42 U.S.C. § 1395cc(a)(1)(I)(i). Additionally, hospitals enter into written

agreements with the Secretary confirming they will comply with EMTALA.


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        Hospitals apply to become certified under Medicare by submitting a Centers for Medicare &

Medicaid Services (CMS) Form 855, see Decl. of David R. Wright (attached hereto as Ex. E) ¶ 2, in

which the provider “agree[s] to abide by the Medicare laws, regulations and program instructions that

apply.” CMS Form 855, § 15, ¶ A.3 (pg. 48), https://perma.cc/84T6-S2DP. If approved for Medicare

certification, the hospital must then sign CMS Form 1561, Wright Decl. ¶ 4, in which the provider

likewise “agrees to conform to the provisions of section of 1866 of the Social Security Act [42 U.S.C.

§ 1395cc] and applicable provisions in 42 CFR.” https://perma.cc/5EPE-YLRE. Finally, each fiscal

year, a Medicare-participating hospital must submit a cost report, pursuant to which “the Chief

Financial Officer or hospital Administrator must certify that he or she is ‘familiar with the laws and

regulations regarding the provision of health care services, and that the services identified in this cost

report were provided in compliance with such laws and regulations,’ which include EMTALA.”

Wright Decl. ¶ 6; see also Decl. of Barbara Shadle (attached hereto as Ex. F) ¶¶ 2-5.

        Within Idaho, there are 52 Medicare-certified hospitals, at least 39 of which provide emergency

services. Wright Decl. ¶ 8. Of the 52 hospitals, 16 are government-owned, and at least 15 of those

provide emergency services. Id. ¶ 9. These 52 hospitals in Idaho received approximately $3.4 billion in

federal Medicare funds during fiscal years 2018-2020; by rough estimate, approximately $74 million

was attributable to these hospitals’ emergency departments. Shadle Decl. ¶ 6. That funding was

conditioned on compliance with EMTALA. Wright Decl. ¶ 14.

II.     Idaho’s Abortion Law

        In 2020, Idaho enacted a law that severely restricts abortion and threatens criminal prosecution

against anyone who performs the procedure. The law, codified at Idaho Code § 18-622, is set to take

effect August 25, 2022. See Idaho Code § 18-622(1)(a).

        Under § 18-622, “[e]very person who performs or attempts to perform an abortion . . .

commits the crime of criminal abortion,” a felony punishable by two to five years imprisonment. Id.



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§ 18-622(2). The law also requires that “[t]he professional license of any health care professional who

performs or attempts to perform an abortion or who assists in performing or attempting to perform

an abortion in violation of this subsection shall be suspended by the appropriate licensing board for a

minimum of six (6) months upon a first offense and shall be permanently revoked upon a subsequent

offense.” Id. Idaho law defines “[a]bortion” to mean “the use of any means to intentionally terminate

the clinically diagnosable pregnancy of a woman with knowledge that the termination by those means

will, with reasonable likelihood, cause the death of the unborn child.” Id. § 18-604(1).1

        The prima facie criminal prohibition and license suspension provisions in Idaho’s law do not

contain any exceptions, including for when the pregnant patient’s health or life is endangered. See id.

§ 18-622(2). Thus, the performance of an abortion—even in an emergency, life-saving scenario—

would subject a provider to criminal prosecution and require the provider to assert one of the law’s

“affirmative defense[s]” at trial. Id. § 18-622(3). As relevant here, the accused physician would have to

prove to a jury, by a preponderance of the evidence, that “[t]he physician determined, in his good faith

medical judgment and based on the facts known to the physician at the time, that the abortion was

necessary to prevent the death of the pregnant woman,” and that the physician “performed or

attempted to perform the abortion in the manner that, in his good faith medical judgment and based

on the facts known to the physician at the time, provided the best opportunity for the unborn child

to survive, unless, in his good faith medical judgment, termination of the pregnancy in that manner

would have posed a greater risk of the death of the pregnant woman.” Id. § 18-622(3)(a)(ii)-(iii).

                                    STANDARD OF REVIEW

        The United States seeks a preliminary injunction against § 18-622’s enforcement as applied to


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 This definition of “abortion” in the Idaho Code is broad and covers some procedures that may not
be characterized as an abortion in the medical community, including some circumstances in which a
pregnancy is nonviable or termination of pregnancy is necessary to treat a pregnant patient’s medical
condition. See Fleisher Decl. ¶ 32, Ex. A-B. For purposes of this case, the United States uses the term
“abortion” as it is defined under the Idaho Code.


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EMTALA-mandated care. To obtain such preliminary relief, “a party must show: (1) it will likely

succeed on the merits, (2) it will likely suffer irreparable harm in the absence of preliminary relief, (3)

the balance of the equities tips in its favor, and (4) the public interest favors an injunction.” AK Futures

LLC v. Boyd St. Distro, LLC, 35 F.4th 682, 688 (9th Cir. 2022) (citation omitted).

                                             ARGUMENT

I.      The United States is Likely to Succeed in Demonstrating that EMTALA Preempts
        Idaho’s Abortion Law

        The United States has a clear likelihood of success on its claim. EMTALA requires hospitals

with emergency departments to provide stabilizing treatment for emergency conditions. Physicians

treating emergency conditions will sometimes determine that the medically necessary treatment

involves or will result in the termination of a pregnancy. Idaho’s law conflicts with EMTALA by

subjecting physicians to criminal prosecution for terminating any pregnancy, irrespective of the

medical circumstances. The law also imposes felony criminal liability on physicians who provide

abortions, unless the physician is able to prove through an affirmative defense that (as relevant here)

the abortion was “necessary to prevent the death of the pregnant woman”—which is far narrower

than the standard EMTALA requires for the provision of medically necessary care. Thus, Idaho’s

abortion law conflicts directly with EMTALA, and is preempted in the context of EMTALA-

mandated care.

        A.       EMTALA Requires Participating Hospitals to Provide Stabilizing Treatment,
                 Which Includes Abortions for Some Medical Conditions

        Under EMTALA, hospitals that receive Medicare funds are generally required (barring an

appropriate transfer to another medical facility) to offer and provide “stabilizing treatment” to all

patients who arrive at their emergency departments while experiencing an “emergency medical

condition.” 42 U.S.C. § 1395dd(b)(1). For such patients, hospitals are required to provide “further

medical examination and such treatment as may be required to stabilize the medical condition.” Id.



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§ 1395dd(b)(1)(A); see also 42 C.F.R. § 489.24(a)(1)(i)-(ii).

        Congress explicitly contemplated that pregnant patients would be among those arriving at an

emergency department experiencing an “emergency medical condition.” Id. § 1395dd(e)(1)(A)(i), (B).

A number of conditions can arise during, or can be exacerbated by, pregnancy that may constitute

“emergency medical conditions.” For some patients, a physician will determine that the stabilizing

treatment for the patient’s emergency condition is termination of the pregnancy. Fleisher Decl. ¶¶ 12-

27; Corrigan Decl. ¶¶ 8-30; Cooper Decl. ¶¶ 5-11; Seyb Decl. ¶¶ 6-12. For example, a pregnant patient

may arrive at an emergency department with bleeding, pelvic pain, or severe abdominal pain that is

being caused by an ectopic pregnancy, a condition in which a nonviable embryo implants outside the

uterus, often in a fallopian tube, which can never lead to a live birth. Fleisher Decl. ¶ 13. This is an

“emergency medical condition” because it could cause the fallopian tube to rupture, and the patient

could bleed to death. Id. In most cases, the physician cannot reasonably know when that rupture will

occur—rupture can occur within minutes, hours, or days of an ectopic-pregnancy diagnosis—but

without immediate treatment it is reasonably probable that the patient’s condition will continue to

deteriorate. Id. Given the “serious risk of unknown imminence,” and the inevitability that the patient’s

condition will deteriorate, the “appropriate stabilizing treatment is nearly always” termination of the

pregnancy through surgery or medication. Id.

        To take another example, a patient may arrive at an emergency room with nausea and

shortness of breath, leading to a diagnosis of pre-eclampsia. Fleisher Decl. ¶ 17. Pre-eclampsia can

“quickly progress to eclampsia, with the onset of seizures,” that can result in a coma, pneumonia,

kidney failure, stroke, or cardiac arrest. Id. In many cases, pre-eclampsia and eclampsia can be managed

with medications that allow the fetus to mature. But in other cases (e.g., situations in which the seizures

cannot be controlled), a physician exercising her medical judgment will conclude that termination of

the pregnancy is the necessary stabilizing treatment. Id. As Dr. Corrigan described, pre-eclampsia for



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one patient caused “water on the lungs,” which required an immediate termination of the pregnancy.

Corrigan Decl. ¶¶ 27-29; Cooper Decl. ¶¶ 6-7 (pre-eclampsia placed patient at risk for stroke, seizure,

and pulmonary edema); Seyb Decl. ¶¶ 9-10. A woman may also arrive at the emergency department

with an infection after the amniotic sac surrounding the fetus ruptures. Fleisher Decl. ¶ 19. This

condition can progress quickly into sepsis, at which point a patient’s organs may begin to fail; like the

other conditions discussed above, there are some circumstances in which termination of the pregnancy

is the medically necessary treatment. Id.; Corrigan Decl. ¶¶ 11-17; Seyb Decl ¶¶ 7-8.

        As a further example, a patient may arrive at the hospital with chest pain or shortness of breath,

at which point a doctor discovers longstanding elevated blood pressure or a blood clot. Fleisher Decl.

¶ 15. Pregnancy can substantially exacerbate these conditions, and for some patients with severe

symptoms, termination is the necessary treatment under EMTALA because there is a high probability

of severe impairment of the lungs, heart, and kidneys without treatment. Id. Similarly, a patient may

arrive at the hospital with vaginal bleeding caused by a placental abruption. Id. ¶ 20; Corrigan Decl.

¶¶ 21-25; Seyb Decl. ¶¶ 11-12. If the bleeding is uncontrollable, a physician may conclude that the

stabilizing treatment includes termination of the pregnancy, in order to prevent the patient from going

into shock which can result in organ dysfunction such as kidney failure. Fleisher Decl. ¶¶ 20-21.

        These are just some of the emergency conditions that can place a pregnant patient’s health in

serious jeopardy or threaten bodily functions or organs. Id. ¶ 22. Despite these conditions’ serious

risks, it may not be possible for a physician to know whether treatment for any particular condition is

“necessary to prevent the death” of the pregnant patient. Id. ¶¶ 13-21. Absent the stabilizing treatment

EMTALA requires, however, the risk is extremely serious that, for example, a patient with an ectopic

pregnancy might bleed to death, an infection could turn into sepsis and cause organ failure, seizures

from eclampsia might prove uncontrollable, or a blood clot could lead to kidney failure. Id.

        For each of these emergency medical conditions, where a physician determines that abortion



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is the stabilizing treatment, EMTALA’s plain text requires that treatment be offered and provided

upon informed consent. Once a physician identifies that a pregnant individual suffers from an

emergency medical condition, that individual must be offered “such treatment as may be required to

stabilize the medical condition.” 42 U.S.C. § 1395dd(b)(1)(A); see also 42 C.F.R. § 489.24(a)(1)(ii) (“If

an emergency medical condition is determined to exist,” the hospital must “provide any necessary

stabilizing treatment[.]”). The only reasonable interpretation of EMTALA’s text is that it requires

hospitals to offer stabilizing treatment when medically necessary.

        Nothing in EMTALA creates a different rule for circumstances in which the treatment results

in termination of a pregnancy. The statute’s text does not exempt any particular treatment (abortion

or otherwise) from the ambit of stabilizing treatment. See Bostock v. Clayton Cnty., 140 S. Ct. 1731, 1747

(2020) (“[W]hen Congress chooses not to include any exceptions to a broad rule, courts apply the

broad rule.”); In the Matter of Baby K, 16 F.3d 590, 596 (4th Cir. 1994) (finding no “statutory language

or legislative history [in EMTALA] evincing a Congressional intent to create an exception to the duty

to provide stabilizing treatment”). And any contrary interpretation—i.e., that a hospital need not

perform an abortion even when medically necessary to stabilize an emergency medical condition—

would undermine EMTALA’s overall purpose of ensuring “that patients . . . receive adequate medical

emergency care.” Arrington, 237 F.3d at 1073-74 (citation omitted).

        Any argument that EMTALA does not encompass abortions is foreclosed by the specific

Affordable Care Act (ACA) provision addressing abortion. See 42 U.S.C. § 18023. The ACA allows

States to prohibit abortion coverage in certain health plans, id. § 18023(a)(1), but the same provision

contains a cross-reference to EMTALA and makes explicit that “[n]othing in this Act shall be

construed to relieve any health care provider from providing emergency services as required by State

or Federal law, including section 1867 of the Social Security Act (popularly known as ‘EMTALA.’)”

Id. § 18023(d). Congress therefore left no doubt that EMTALA encompasses abortion services and



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that a State may not override that requirement.

       The Weldon Amendment, which is a frequently enacted appropriations provision that

prohibits discrimination against certain entities that do not perform abortions, reflects the same

understanding. The Weldon Amendment’s sponsor, when confronted with a concern that “women

will die because they will not have access to an abortion needed to save the life of the mother,”

expressly referenced EMTALA as addressing that concern: “Hyde-Weldon does nothing of the sort.

It ensures that in situations where a mother’s life is in danger a health provider must act to save the

mother’s life. In fact, Congress passed [EMTALA] forbidding critical-care health facilities to abandon

patients in medical emergencies, and requires them to provide treatment to stabilize the medical

condition of such patients—particularly pregnant women.” 151 Cong. Rec. H177 (Jan. 25, 2005)

(statement of Rep. Weldon).

       More generally, when Congress creates special rules for abortion—or excludes abortion care

from otherwise-applicable rules—it does so expressly.2 “Had Congress likewise intended” to exempt

abortions from EMTALA, “it knew how to say so.” Rubin v. Islamic Republic of Iran, 138 S. Ct. 816, 826

(2018). Indeed, the very same legislation through which Congress considered EMTALA included a

separate program that did expressly carve out abortion. Compare Consolidated Omnibus Reconciliation

Act of 1985, H.R. 3128, 99th Cong., 1st Sess., § 124 (language that became EMTALA), with id.

§ 302(b)(2)(B) (expressly excluding abortion from a different program’s authorized activities). Courts

have also previously understood EMTALA to require abortion-related services. See, e.g., New York v.

U.S. Dep’t of Health & Hum. Servs., 414 F. Supp. 3d 475, 538 (S.D.N.Y. 2019); Morin v. E. Maine Med.



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 Examples of these abortion-specific provisions include 10 U.S.C. § 1093; 20 U.S.C. § 1688; 22 U.S.C.
§§ 5453(b), 7704(e)(4); 25 U.S.C. § 1676; 42 U.S.C. §§ 238n, 280h-5(a)(3)(C), 300a-6, 300a-7, 300a-8,
300z-10, 1397ee(c)(7), 2996f(b)(8), and 12584a(a)(9). Congress has also routinely enacted a similar
provision in appropriations laws, commonly referred to as the “Hyde Amendment.” See, e.g.,
Consolidated Appropriations Act, 2022, Div. H, Tit. V, §§ 506, 507, Pub. L. No. 117-103, 136 Stat.
49, 496 (2022); cf. Harris v. McRae, 448 U.S. 297, 302 (1980).


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Ctr., 780 F. Supp. 2d 84, 96 (D. Me. 2010); California v. United States, No. 05-cv-328, 2008 WL 744840,

at *4 (N.D. Cal. Mar. 18, 2008). Thus, both EMTALA’s text and the surrounding statutory scheme

confirm that EMTALA includes termination of the pregnancy as a potential stabilizing treatment.

        To be sure, EMTALA separately provides that a pregnant person may have an “emergency

medical condition” in circumstances in which “the health of [the] . . . unborn child . . . [is] in serious

jeopardy.” 42 U.S.C. § 1395dd(e)(1)(A)(i). That provision ensures that a hospital’s EMTALA

obligations extend to a scenario where the “unborn child’s” health (and not the pregnant patient’s

health) is threatened. But nothing in the statutory text indicates that Congress intended to limit the

EMTALA-mandated care to pregnant patients, or to require a provider to prioritize the fetus’s health

over the life or health of the pregnant patient. Instead, when a pregnant patient has an emergency

medical condition and a physician concludes that stabilizing treatment would require termination of

the pregnancy, EMTALA’s text leaves that balancing to the pregnant patient—who may decide, after

weighing the risks and benefits, whether to accept or refuse the treatment. See id. § 1395dd(b)(2)

(acknowledging that “the individual” with an emergency medical condition, after being informed “of

the risks and benefits” of treatment, may “refuse[] to consent to the . . . treatment”). There is therefore

no conflict between EMTALA’s provision respecting a pregnant patient and an “unborn child.”

        The statutory context further refutes any alternative interpretation that EMTALA’s reference

to “unborn child” forecloses abortion as a stabilizing treatment. That interpretation would mean that

every time a hospital emergency room terminated a pregnancy to save a pregnant patient’s life, the

hospital committed an EMTALA violation—contrary to the consistent Congressional understanding

reflected above. Moreover, that interpretation would mean that Congress, when enacting EMTALA

in 1986, intended to prohibit hospitals from performing abortions, but only those abortions involving

a threat to the pregnant patient’s life or health. “Congress does not hide elephants in mouseholes,”

Cyan, Inc. v. Beaver County Employees Ret. Fund, 138 S. Ct. 1061, 1071-72 (2018), and the notion that



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Congress intended EMTALA to forbid necessary medical care is fundamentally at odds with the

statute’s aim of guaranteeing—not prohibiting—emergency medical care. See, e.g., 131 Cong. Rec.

S13892 (“We cannot stand idly by and watch those Americans who lack the resources be shunted

away from immediate and appropriate emergency care whenever and wherever it is needed.”)

(statement of Sen. Durenberger). In sum, Idaho cannot meaningfully dispute that EMTALA’s

requirement to offer stabilizing treatment includes abortion when a provider determines that

treatment is medically necessary.

        B.      Idaho’s Near-Absolute Abortion Ban Conflicts with EMTALA

        Because Idaho’s law makes it a crime to perform an abortion even when a physician concludes

that such a procedure is the necessary stabilizing treatment under EMTALA, Idaho’s law is preempted.

        As EMTALA provides, “any State or local law requirement” is preempted “to the extent that

the requirement directly conflicts with a requirement of this section.” 42 U.S.C. § 1395dd(f). This

preemption provision encompasses both impossibility and obstacle preemption. Draper, 9 F.3d

at 1393. Applying these principles to a state law that entitled physicians to forgo medical treatment

that EMTALA would otherwise require, the Fourth Circuit found the analysis to be straightforward:

“[T]o the extent that [the state law] exempts treating physicians in participating hospitals from

providing care [under specified circumstances], it is preempted—it does not allow the physicians . . .

to refuse to provide her with [stabilizing treatment].” Matter of Baby K, 16 F.3d at 597. Numerous courts

have likewise found state laws preempted when they stood as obstacles to EMTALA’s civil liability

provisions. See Root v. New Liberty Hosp. Dist., 209 F.3d 1068, 1070 (8th Cir. 2000) (Missouri state law

preempted to the extent it sought to shield its state-operated hospitals from EMTALA liability); Burditt

v. HHS, 934 F.2d 1362, 1373-74 (5th Cir. 1991) (physician could not avoid EMTALA liability by

relying on state law contract principles, because “[w]e recognize no reason for conditioning the

applicability of EMTALA’s civil penalty provision on the vagaries of the several state laws”); see also,



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e.g., Cox v. Cabell Huntington Hosp., Inc., 863 F. Supp. 2d 568, 572 (S.D. W. Va. 2012); Merce v. Greenwood,

348 F. Supp. 2d 1271, 1277 (D. Utah 2004). Consistent with these decisions, Idaho’s abortion law

conflicts with EMTALA, and therefore is preempted, for three independent reasons.

        First, Idaho law flatly prohibits—and attaches criminal penalties and loss of license to—

medical care that EMTALA requires. It is thus impossible for Idaho medical providers to comply with

both Idaho and federal law. The Idaho law establishes an affirmative defense for abortions “necessary

to prevent the death of the pregnant woman,” Idaho Code § 18-622(3)(a)(ii), but EMTALA requires

necessary stabilizing treatment for any “emergency medical condition,” which is broader than just

those treatments necessary to prevent death. See 42 U.S.C. § 1395dd(e)(1)(A) (defining “emergency

medical condition” to include conditions that “plac[e] the health of the individual . . . in serious

jeopardy,” threaten “serious impairment to bodily functions,” or risk “serious dysfunction of any

bodily organ or part”). Serious medical conditions exist that meet EMTALA’s criteria but for which

an abortion might not be necessary to prevent death. See Part I.A, supra; Fleisher Decl. ¶¶ 12-27.

Because Idaho law criminalizes terminating a pregnancy in these circumstances, but federal law

requires physicians to offer and provide such stabilizing treatment when medically necessary, it is

impossible for physicians to comply with both laws; the Idaho law is therefore preempted. See, e.g.,

Chamber of Com. of U.S. v. Bonta, 13 F.4th 766, 781 (9th Cir. 2021) (“An arbitration agreement cannot

simultaneously be ‘valid’ under federal law and grounds for a criminal conviction under state law”);

Valle del Sol Inc. v. Whiting, 732 F.3d 1006, 1028 (9th Cir. 2013) (state law was preempted because it

allowed “individuals [to] be prosecuted for conduct that Congress specifically sought to protect”).

        Second, even in circumstances for which Idaho offers an affirmative defense—where the

procedure is “necessary to prevent the death of the pregnant woman,” Idaho Code § 18-622(3)(a)(ii)—

the affirmative defense structure itself “is an obstacle to the accomplishment and execution of the full

purposes and objectives of Congress.” Draper, 9 F.3d at 1394. The Idaho law allows physicians to be



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prosecuted for performing any abortion, regardless of circumstances. Even where the affirmative

defense would be satisfied, the Idaho law would still allow for indictment, arrest, and criminal

prosecution of physicians each and every time a pregnancy is terminated—including when the

physician determined that the procedure was necessary stabilizing treatment under EMTALA.

Relegating any exception from criminal liability to an affirmative defense itself poses an obstacle to

EMTALA’s “overarching purpose of ensuring that patients . . . receive adequate emergency medical

care,” Vargas By & Through Gallardo v. Del Puerto Hosp., 98 F.3d 1202, 1205 (9th Cir. 1996), because

exposure to criminal prosecution will render physicians less inclined or entirely unwilling to risk

providing treatment. See Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 350-51 (2001) (holding

that fear of being “expose[d] . . . to unpredictable civil liability” under state law, for conduct condoned

by federal law, was sufficient for preemption); Arizona v. United States, 567 U.S. 387, 408 (2012)

(preempting a state law authorizing the arrest of aliens, because “[t]he result could be unnecessary

harassment of some aliens . . . who federal officials determine should not be removed”).

        Third, the Idaho law conflicts with EMTALA by threatening the licenses of medical

professionals who perform or assist in providing an abortion. Fleisher Decl. ¶ 27; Corrigan Decl.

¶¶ 32-34; Cooper Decl. ¶ 12; Seyb Decl. ¶¶ 13-14. Specifically, beyond the physician who performs

the abortion, see Idaho Code § 18-604(12), the Idaho law mandates that any “health care

professional . . . who assists in performing or attempting to perform an abortion in violation of this

subsection shall be suspended by the appropriate licensing board for a minimum of six (6) months

upon a first offense and shall be permanently revoked upon a subsequent offense.” Id. § 18-622(2).

This provision could apply to a number of personnel involved in emergency care, including nurses,

pharmacists, physicians’ assistants, and anesthesiologists. Cf. id. §§ 54-1401 (nursing licensure), 54-

1718 (pharmacists), 54-1810 (physicians), 54-1810A (physicians’ assistants).

        Notably, these professionals’ licenses can be revoked even for someone else’s conduct,



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because in any “disciplinary action by an applicable licensing authority,” they must likewise prove the

elements of the affirmative defense: that the physician appropriately determined the necessity of the

abortion and the appropriate manner to perform it. See Idaho Code § 18-622(3)(a)(ii)-(iii). The obvious

effect will be to discourage medical professionals from participating in any abortions. Even if a doctor

tells a nurse, for example, that an abortion is necessary to prevent death or serious bodily harm, the

nurse could still be subject to disciplinary action for assisting in the abortion, and potentially have their

license revoked based on the disciplinary board’s determination that the doctor erred in making a “good

faith medical judgment” about how to treat the pregnant patient. Id. Thus, the Idaho law penalizes

and deters medical professionals from participating in medically necessary abortions, contrary to

EMTALA’s “overarching purpose of ensuring that patients . . . receive adequate emergency medical

care,” Vargas, 98 F.3d at 1205.

        For each of these reasons, § 18-622 conflicts directly with EMTALA, and the United States

has demonstrated a likelihood of success on its preemption claim. Section 18-622 is therefore

preempted to the extent it allows Idaho to initiate criminal prosecutions against, attempt to revoke the

license of, or seek to impose any other form of liability on, medical providers with respect to

EMTALA-covered care.

II.     The Equitable Balance Supports Entry of a Preliminary Injunction

        The remaining factors all support entry of a preliminary injunction, because allowing the Idaho

law to take effect would result in irreparable harm to the public and to the United States’ sovereign

interests. Cf. Nken v. Holder, 556 U.S. 418, 435 (2009) (noting that, in suits involving the United States,

the balance of equities and “public interest . . . factors merge”).

        First and most fundamentally, allowing the Idaho law to go into effect would threaten severe

harm to pregnant patients in Idaho, who would no longer be guaranteed the critical emergency care

to which they are entitled under federal law. See Valle del Sol, 732 F.3d at 1029 (“It is clear that it would



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not be equitable or in the public’s interest to allow the state to violate the requirements of federal law,

especially when there are no adequate remedies available.” (modifications omitted)). As discussed

above, numerous pregnancy-related conditions could require emergency care including abortion, and

these conditions have occurred and will inevitably occur again within Idaho. Corrigan Decl. ¶¶ 8, 15,

23, 29; Cooper Decl. ¶¶ 5, 6, 8, 10, 12; Seyb Decl. ¶¶ 6, 7, 9, 11, 13. To take just one example, in Idaho,

Medicaid has covered treatment for approximately 100 ectopic pregnancies each year. Fleisher Decl.

¶ 36. Medical literature also confirms that other diagnoses qualifying as “emergency medical

conditions” for pregnant individuals also occur frequently. Id. ¶¶ 28-38. And Idaho-based physicians

have personally treated patients with these types of conditions. Corrigan Decl. ¶ 8 (anticipating that

“the number will increase”); Seyb Decl. ¶ 6 (treating “a dozen” per year); Cooper Decl. ¶ 5.

        Given that Idaho has approximately 22,000 births per year,3 and a large number of high-risk

pregnancies due to surrogacy, it is virtually guaranteed that these emergency medical conditions will

occur for a sizeable number of pregnant patients within Idaho. Corrigan Decl. ¶¶ 8, 19; Fleisher Decl.

¶¶ 36-38. Allowing the law to go fully into effect would discourage physicians from providing

necessary care in emergency circumstances, resulting in significant and irreparable harm to numerous

pregnant patients within Idaho. Every day that the law is in effect, there is a likelihood that some

pregnant persons suffering medical emergencies will face irreversible health consequences, such as

strokes and organ failure, and some are likely to die. See Fleisher Decl. ¶¶ 36-38; Corrigan Decl. ¶¶ 8,

17, 23-24, 29; Cooper Decl. ¶ 6, 8, 10, 12; Seyb Decl. ¶ 7, 9, 11, 13; see also Rodde v. Bonta, 357 F.3d 988,

999 (9th Cir. 2004) (irreparable harm “includes delayed and/or complete lack of necessary treatment,

and increased pain and medical complications”); Beltran v. Myers, 677 F.2d 1317, 1322 (9th Cir. 1982)

(“Plaintiffs have shown a risk of irreparable injury, since enforcement of the California rule may deny



3
 Idaho Dep’t of Health & Welfare, 2010-2020 Idaho Resident Births, VS Natality – Data Results, 2010-
2020, https://www.gethealthy.dhw.idaho.gov/idaho-births-vital-statistics (attached as Ex. G-C).


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them needed medical care.”).

        Indeed, patients in Idaho are already facing dire situations. Dr. Corrigan treated a patient who,

after initially being denied care, arrived at the hospital two weeks later with an infection in her uterus,

at risk of sepsis, and termination was necessary to preserve her life. Corrigan Decl. ¶¶ 12-15. And Dr.

Seyb recently received a call from a physician whose patient was “clear[ly]” “in danger” due to severe

bleeding, but the physician feared the ramifications of providing medically necessary care. Seyb. Decl.

¶ 13. Had § 18-622 been in effect, the life-saving treatment these patients received could have been

further delayed or denied. Corrigan Decl. ¶¶ 31-35; Cooper Decl. ¶ 12; Seyb Decl. ¶¶ 13-14.

        Moreover, Idaho’s law also interferes with the United States’ sovereign interest in ensuring the

proper administration of federal law and the Medicare program. See, e.g., United States v. Alabama, 691

F.3d 1269, 1301 (11th Cir. 2012) (“The United States suffers injury when its valid laws in a domain of

federal authority are undermined by impermissible state regulations.”); cf. Vt. Agency of Nat. Res. v. U.S.

ex rel. Stevens, 529 U.S. 765, 771 (2000). The United States has agreed to provide federal Medicare funds

to hospitals in Idaho, in return for those hospitals promising (among other things) to comply with

EMTALA for all patients, not just for Medicare beneficiaries. See 42 U.S.C. § 1395cc(a)(1)(I). But the

Idaho law seeks to disrupt the program and deprive the United States of the benefit of its bargain by

prohibiting Idaho hospitals from performing EMTALA-mandated services, notwithstanding that

hospitals’ receipt of Medicare funds is conditioned on them doing so. Thus, the Idaho law threatens

“harm to the administration and integrity of Medicare,” United States v. Mackby, 339 F.3d 1013, 1018

(9th Cir. 2003), because payments to hospitals will no longer guarantee the availability of services that

Congress mandated. Wright Decl. ¶¶ 14, 16. This harm is substantial: the United States provided over

$3 billion in Medicare funding to hospitals within Idaho over fiscal years 2018-2020, with

approximately $74 million attributable to emergency departments. Shadle Decl. ¶¶ 6-8.

        The Idaho law also interferes with the written agreements that the United States has entered



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into with hospitals pursuant to Medicare. These Spending Clause agreements likewise require hospitals

to comply with EMTALA. See Background, Part I.C, supra. It is well-settled that third parties may not

interfere with the terms of Spending Clause legislation, see Lawrence Cnty. v. Lead-Deadwood Sch. Dist.

No. 40-1, 469 U.S. 256, 270 (1985), but here, the State of Idaho is directly interfering with the

agreements between the United States and the 52 hospitals within Idaho that are receiving Medicare

funds. Thus, irreparable harm exists on this basis as well.

        Finally, on the other side of the ledger, the State of Idaho will suffer no cognizable harm as a

result of the requested preliminary relief. Idaho’s abortion law is not currently in effect, has never been

in effect, and therefore enjoining it from going into effect, as applied to EMTALA-mandated care,

would simply preserve the status quo during the short period necessary for further litigation. See All.

for Wild Rockies v. Pierson, 550 F. Supp. 3d 894, 898 (D. Idaho 2021) (“The purpose of a preliminary

injunction is to preserve the status quo and prevent the ‘irreparable loss of rights’ before a final

judgment on the merits[.]”). Given the significant harms that would result if the Idaho law were to go

into effect to prohibit EMTALA-mandated care—both for pregnant individuals as well as the United

States’ sovereign interests—and the corresponding lack of harm to the State of Idaho from a

temporary injunction against certain applications of its law, the equitable factors plainly favor entry of

preliminary relief against the Idaho law’s enforcement.

                                           CONCLUSION

        For the foregoing reasons, the Court should enter a preliminary injunction prohibiting the

State of Idaho—including all of its officers, employees, and agents—from enforcing Idaho Code § 18-

622(2)-(3) as applied to EMTALA-mandated care.




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Dated: August 8, 2022                           Respectfully submitted,

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